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               #   - @    : :*     @     . *


 UnitedStatesBankruptcyCourtforthe:
 CentralDistrictofCalifornia                                                                             D ORIGINAL
 case num ber(/fknownj:                                   Chapteryou arefil
                                                                          ing under:
                                                          Z chapter7
                                                          IDchapter11
                                                          L         2                        FILE D
                                                          D chapter13                                                  Checkifthi
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   ' 'aIForm 101                                                                       Jsy,
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                                                                                                         De ty clerk
V o Iu nta ry Pe t-
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                                               1I-
                                                 1n g o r                                                              tcy            12/17
The bankruptcyforms use youand Deblor1to referto a debtorfiling alone.A married coupl
                                                                                    e mayfile a bankruptcy case together--called a
jolntcase-andinjointcases,theseformsuseyoutoaskforinformationfrom bothdebtors.Forexample,ifaform asks,âuDo youownacarj''
the answerwould be yesifei
                         therdebtorownsa oar.W hen information isneeded aboutthe spousesseparatel
                                                                                                y,theform uses Debtor 1and
DeblorPtodistinguishbetweenthem.Injointcases,oneofthespousesmustreportinformationasDebtor1andtheotherasDeblorz.The
same person mustbe Debtor1in aIIofthe forms.
Be as complele and accurate as possible.lftwo married peopl
                                                          e arefilingtogether,both are equally responsible forsupplying correct
information.lfmorespace is needed,attach aseparatesheetto thisform .On thetop ofanyadditionalpages,write yourname and case number
(ifknown).Answereveryquestion.
*.
            ldentify Yourself
                                  AboutDebtor1:                                              AboutDebtor2(SpouseOnlyi
                                                                                                                    n aJointCase):
1. Yourfullnam e
     W ritethe namethatison your ROSA
     government-issuedpicture    Firstname                                                   Firstname
     identifi
            cati
               on(forexampl
                          e,
     yourdriver'
               s Ii
                  cense or
     passport).                   Middle name                                                Middle name
     Bring yourpicture            ROBLES
     identifi
            cati
               on toyourmeeting   Lastname                                                   Lastname
     withthe trustee,
                                  Suffi
                                      x(Sr.,Jr.,Il,111)                                      Suffi
                                                                                                 x(Sr.,Jr.,1I,111
                                                                                                                )



2. AI1othernames you
   have used in the last8
   years
     lncludeyourm arri
                     edor
     maiden names.




z. Onlythe Iast4digits of                           8         a     5     :
   yourSocialSecurity             xxx - xx -
   num berorfederal               OR
     lndi
     I   vidualTaxpayer
      dent                        9 xx - xx -                                                9 xx - xx -
          ification num ber
     (lTlN)

     OfficialForm 1O1                           Voluntary Petition forIndividuals Flling forBankruptcy                          page 1
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                              AboutDebtor1:                                          AboutDebtor2(SpouseOnlyinaJointCasel:                   '

4. Any business nam es
   andEmployer                f-
                               Z
                               - lhavenotusedanybusi
                                                   nessnamesorElNs.                  X lhavenotusedanybusinessnamesorEINs.
   Identification Num bers
   (EIN)you have used in
  the Iast8 years             Businessname                                           Business name
   lncludetrade names and
   doing business asnames     Businessname                                           Businessname


                                                                                     ElN


                                                                                     EIN


5. W here you live                                                                   IfDebtor2 Iives ata differentaddress:

                              11226 ARIZONA AVE
                              Number     Street                                      Number        Street




                              Riverside                       CA      92503
                              City                            State   ZIP Code
                              Riverside County
                              County

                              Ifyourmailing address is differentfrom the one         IfDebtor2'smailing address isdi   fferentfrom
                              above,fillitin here.Notethatthe courtwillsend          yours,fillitin here.Note thatthe courtwilsend
                              any noticesto youatthismail
                                                        ing address,                 anynoticestothismai  ling address.


                              Number     Street                                      Number        Street

                                                                                     e.O.Box


                                                                                      City                              State     ZIP Code



6. W hyyou are choosing       Checkone:                                               Check one:
   this districtto file for                                                          1
                                                                                     -1OvertheIast180daysbeforefili
                                                                                                                  ngthispetition,I
   bankruptcy                 1-7
                                --1OvertheI
                                          ast180daysbeforefili
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                                 distri
                                      ct.                                                  district.

                              I- IIhaveanotherreason.Expl
                                                        ain.                         I--Ilhaveanotherreason.Expl
                                                                                                               ain.
                                 (See28U.S.C.j1408.)                                       (see28U.s.c.ç 1408.)




  Offi
     cialForm 101                         Voluntary Petition forlndividuals Filing forBankruptcy                                Page 2
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*.
            Tellthe CourtAboutYour Bankruptcy Case

7. The chapterofthe               Checkone.(Forabriefdescriptionofeach,seeNoticeRequi
                                                                                    redby 11U.S.C.f342+)forIndividualsFiling
   Bankruptcy Code you            forBankruptcylyonv2010)).Also,gotothetopofpage 1andchecktheappropri
                                                                                                    atebox.
   are choosing to file          I-e
                                   ---lChapter7
   under
                                 I- lchapter11
                                 I-N chapter12
                                 I-N chapter13

8. How you w illpay the fee      77
                                  -1IwillpaytheentirefeewhenIfilemypetition Please checkwith the clerk's office in your
                                                                                             .

                                          Iocalcourtformore details abouthow you may pay.Typically,ifyou are paying the fee
                                          yourself,you may pay with cash,cashier's check,orm oney order.Ifyourattorney i
                                                                                                                       s
                                          submitting yourpaymenton yourbehalf,yourattorney m ay paywith a credi tcard orcheck
                                          with a pre-printed address.

                                 r-11needtopaythefeeininstallments.Ifyouchoosethisoption,signandattachthe
                                    Application forIndividualsto Pay The Filing Fee in Installments(offi
                                                                                                       cialForm 1O3A).
                                 X Irequestthatmyfeebewaived(Youmayrequestthisopti
                                                                                 ononlyifyouarefil
                                                                                                 ingforChapter7.
                                          ByIaw,ajudge may,buti
                                                              s notrequi
                                                                       red to,waive yourfee,and may dosoonly i
                                                                                                             fyourincome is
                                          less than 150% ofthe offici
                                                                    alpoverty Iine thatapplies to yourfamily size and you are unable to
                                          paythe feein installments).I
                                                                     fyouchoosethi s option,youmustfillouttheApplicationto Have the
                                          chapter7Filing Fee Waived (OfficialForm 1O3B)and file itwi
                                                                                                   th yourpetition.

9. Haveyoufiledfor I-o jO
   bankruptcy w ithin the                      couN'ry BANKRUPTCY cOI
   Iast8years?            G7 es Di
                                 stri
                                    ctRIVERSIDE
                                      .
                                                                     when09/13/2018 casenumber6:18-bk-17755-SY
                                          District                                               When             Case number

                                          District                                               W hen            Case number




1n.Areanybankruptcy              r-.,1xo
   casespendingorbeing           U-lY
     filed by a spouse who is              es.
     notfiling this case with
     you,orby a business
     partner, orby an       Debtor                                                                       Rel
                                                                                                           ati
                                                                                                             onshiptoyou
     affiliate?             oistri
                                 ct                                                      When                 casenumber,ifknown




11.Do you rentyour               I-e
                                   --lNo. GotoIine12.
   residence?                    r-lYes. HasyourIandlordobtainedanevictionjudgmentagai
                                                                                     nstyou?

                                                 X No.GotoI   ine12.
                                                 I-NYes.FilloutInitialStatementAboutanEvi
                                                                                        ctionJudgmentAgai
                                                                                                        nstYoulForm 101A)and5I
                                                                                                                             eitwith
                                                     thi
                                                       s bankruptcypetition.



  Offici
       alForm 1O1                                    Voluntary Pelition forlndividuals Rling forBankruplcy                         Page3
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>.           ReportAbout Any Businesses You Own as a Sole Proprietor

12.Areyouasoleproqrietor (7
                          --1No.GotoPart4.
     ofany
     busi  full-orpad-tlme
         ness?                        r-lves.Name and Iocationofbusiness
     A sol e proprietorship i
                            sa
     businessyouoperateasan                      Nameofbusiness,ifany
     individual,and i s nota
     separatelegalentitysuchas
     a corporation,partnership,or                Number    Street
     LLC.
     lfyou have morethan one
     sole proprietorship,use a
     separatesheetandattachit
     tothispetition.                                                                             State        ZIP Code


                                                 checktheappropriateboxtodescribeyourbusiness:
                                                 r-1Heal thcareBusiness(asdefinedin11U.s.c.ç1o1(27A))
                                                 I--IsingleAssetRealEstate(asdefinedin11U.s.c.â1o1(51B))
                                                 r-lstockbroker(asdefinedin11U.S. C.5101(53A))
                                                  r-lcommodi tyBroker(asdefinedin11U.S.C.9101(6))
                                                  r--
                                                    lNoneoftheabove

13.Are you filing under               Ifyou arefiling underChapter11,the trf
                                                                           lrlmustknow whetheryou are a smal lbusinessdebtorso thatit
                                      can setappropriatedeadlines.Ifyou indi
                                                                           catethatyou are a smallbusiness debtor,you mustattachyour
   Chapter11 ofthe                    mostrecentbalancesheet,statementofoperations,cash-fl  ow statement,and federali
                                                                                                                    ncometax return orif
   BankruptcyCode and                 anyofthesedocumentsdonotexi
                                                                st,foll
                                                                      owtheprocedurei
                                                                                    n11U.S.C.j1116(1)(B).
   are you a sm allbusiness
   debtoO                             R No.Iam notfili     ngunderChapter11.
       Foradefiniti
                  on ofsma//
       business debtor.see            E----INo lam filing underchapter11,butIam NoT asmallbusinessdebtoraccording to thedefinition in
                                             .

       11U.S.C.j101(51D).                    the Bankruptcycode.
                                      I-lves. Iam filing underchapter11and lam a smallbusiness debtoraccordingtothe definitioninthe
                                              Bankruptcycode.

 œ .     :    Report ifYou Ow n or Have Any Hazardous Property orAny Property That Needs Im m ediate Atlention


14.Doyouownorhaveany (K NO
       property thatposes orIs
       alleged to pose a threat
                                         'Yes. W hatisthe hazard?
       ofim m inentand
       identifiable hazard to
       public health orsafety?
       O rdo you ow n any
       propedy thatneeds                           lfi
                                                     m mediateattenti
                                                                    on i
                                                                       s needed,whyi
                                                                                   sitneeded?
       im m ediate altention?
       Forexample,doyou (  ?en
       perishable goods,orIivestock
       thatmustbe fed,orabullding
       thatneedsurgentrepairs?                     W here istbe property?




       O'i
         cialForm 1O1                                 Voluntary Petltion forIndividualsFiling forBankruptcy                       Pa9e 4
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*.         Explain YourEfforts to Receive a Briefing About Credit Counseling

                                    Abom Debtor1:                                            AboutDebtor2(SpouseOnlyinaJointCase):
15.Tellthe courtwhether
   you have received a                                                                       You mustcheckone:
   briefing aboutcredit             You mustcheckone:
   counseling.                      I
                                    W
                                    -Ilreceivedabriefingfrom anapprovedcredi
                                                                           t                 N Irecei
                                                                                                    vedabriefingfrom anapprovedcredit
                                       counseling agencywithin the 180 days before1            counseling agencywithin the 180 days before l
     The I aw requiresthatyou          filedthisbankruptcyqetition,andIreceiveda                filedthi
                                                                                                       sbankruptcyyetition,andIreceiveda
     receivea briefi ngaboutcredi
                                t      certificateofcompletlon.                                 cedificate ofcompletlon.
     counseling beforeyoufi lefor      Attacha copyofthecertifi
                                                              cate andthe paym ent              Attacha copyofthe cedificate andthe payment
     bankruptcy.Youmust                plan,ifany,thatyoudevelopedwith theagency.               pl
                                                                                                 an,ifany,thatyoudevel  opedwiththe agency.
     truthfullycheckoneofthe
     following choi ces.Ifyou       r-lIreceivedabriefingfrom anapprovedcredit               F-IIreceivedabriefingfrom anapprovedcredit
     cannotdo so,you arenot            counseling agencywithin the 180 days before I            counseling agency withinthe 180 days before I
     eligible tofil
                  e.                   filedthisbankruptcyqetition,butldonothavea               filedthisbankruptcyyetition,butldonothavea
                                       certificate ofcom plellon.                               certificate ofcompletlon.
     Ifyoufileanyway,the court         Wi thin 14 daysafteryoufilethi
                                                                    sbankruptcy peti
                                                                                   ti
                                                                                    on,         Within 14 daysafteryou fl
                                                                                                                        ethis bankruptcypetition,
     can dismissyourcase,you           you MUST 5Ie acopy ofthe certificateand payment          youMUST fil  e acopyofthe certifi
                                                                                                                                cate andpayment
     willI
         osewhateverfiling fee         plan,i fany.                                             pl
                                                                                                 an,ifany.
     you paid,andyourcredi  tors
     can begincoll
                 ecti
                    onactivi  ti
                               es   FR lcertifythatIaskedforcreditcounseling                 U-llcedifythatlaskedforcreditcounseling
     again.                            services from an approved agency,butwas                  services from an approved agency,butwas
                                       unable to obtainthoseservicesduring the7                 unable to obtain those servicesduring the7
                                       daysafterImade my requestand exigent                     days afterImade myrequest,and exigent
                                       circumstancesmerita 30-daytem porarywaiver               circumstancesmerita 30-daytemporarywaiver
                                       oftherequirement.                                        ofthe requirement.
                                       To askfora 30-daytemporarywai       verofthe             To askfora 3O-daytemporarywaiverofthe
                                       requirement,attach aseparate sheetexpl      ai
                                                                                    ning        requirement,attach a separate sheetexplaining
                                       whateffortsyoumadetoobtainthe bri      efing,why         whateffortsyoumadeto obtain the briefing,why
                                       youwere unabl   eto obtain i tbefore you filedfor        you were unable to obtain itbeforeyoufil edfor
                                       bankruptcy,and whatexigentcircumstances                  bankruptcy,and whatexigentcircumstances
                                       requiredyoutofile thiscase.                              requiredyoutofil   e thiscase.
                                       Yourcase may be dismi     ssed ifthe courtis             Yourcasemay be dismi     ssed ifthecourtis
                                       dissatisfied withyourreasonsfornotreceivinga             di ssatisfiedwithyourreasonsfornotreceiving a
                                       briefing beforeyoufil  edforbankruptcy.                  briefing before youfil edforbankruptcy.
                                        lfthe courtissatisfied withyourreasons,youmust           Ifthe courtissatisfied with yourreasons,you must
                                       stilrecei ve a briefi
                                                           ngwithin30daysafteryoufil    e.       stillreceivea briefingwithin30days afteryou file.
                                       YoumustGl    e a cedificatefrom the approved              You mustfilea certificatefrom theapproved
                                       agency,alongwitha copyofthe paymentpl         anyou       agency,al  ong wi tha copyofthe paymentplanyou
                                        developed,i fany.Ifyou do notdoso,yourcase               devel  oped,i
                                                                                                             fany.l  fyou do notdo so,yourcase
                                        maybedi   smissed.                                       m ay be dism i
                                                                                                              ssed.
                                        Anyextensi  onofthe 3O-daydeadline isgranted             Any extension ofthe 3O-daydeadline isgranted
                                        only forcause and i sI imited to a maxi
                                                                              m um of15          onlyforcause and islimitedtoa m aximum of15
                                        days.                                                    days.

                                    r-IIam notrequiredtoreceiveabriefingabout                 I'
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                                        creditcounseling becauseof:
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                                        Ifyou believe youare notrequired to recei
                                                                                ve a              Ifyoubelieve you are notrequiredto receive a
                                        briefingaboutcreditcounseling,youmustfile a               briefing aboutcreditcounseling,youmustfilea
                                        moti onforwaiverofcreditcounseli ngwith thecourt.         motionforwaiverofcredi  tcounselingwi ththe court.




        OfficialForm 1O1                            Voluntary Petition forIndividuals FilingforBankruptcy                             gage 5
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*-     .   AnswerThese Questions forReporting Purposes
                                 16a.Are yourdebts primarilyconsumerdebts? Consumerdebtsaredefi        nedin11U.S.C.j101(8)
16.W hatkind ofdebts do              as'incurredbyanindivi
                                                         duajprimarifyforapersonal,fami
                                                                                      ly,orhouseholdpurpose,'
     youhave?                        C1No.Go to Iine 16b.
                                     I'
                                      Z Yes.GotoIine17.
                                 16b.Are yourdebtsprim arily businessdebts? Businessdebtsaredebtsthatyouincurredtoobtain
                                      moneyfora businessorinvestmentorthrough the operation ofthe businessori
                                                                                                            nvestment.
                                      F-INo.GotoIi
                                                 ne16c.
                                      F-1Yes.GotoI
                                                 ine17.
                                 16c.State thetypeofdebtsyouowe thatare notconsumerdebtsorbusinessdebts.


17.Areyoufiling under
   Chapter77                 I
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   Do you estim atethatafter 1
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   excludedand                       z xo
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   avallablefordistribulion
   to unsecured creditors?
18.How manycredltors do          H   1.49                         r-1l,ooo-s,ooo                       I
                                                                                                       --Izs,ool-so,ooo
   you estim ate thatyou         L   so-99                        I
                                                                  ---
                                                                    I5,001-10,000                      r-Iso,ool-loo,ooo
   ow e?                         Q   100-199                      F-1lo,ool-zs,ooo                     r'
                                                                                                        -lMorethanqoo,ooo
                                 L   200r999
19.How mucbdoyou                 I--I$0-$50,000                   I-Q $1,000,001-$10milion             r'R$500,000,001-$1bilion
   estimateyourassetsto          I-Isso,col-sloo,ooo              r-lslo,ooo,ool-ssomill ion           r-1$1,
                                                                                                            000,000,001-$10billion
   bewodh?                        r
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                                  I
                                  --I$500,001-$1milion            I-R $100,000,001-$500million         U1Morethan$5Obilli on
2o.How muchdoyou           I
                           -I$0-$50,000                            U-1$1,000,001-$10mi lli
                                                                                         on            F1$500,000,001-$1bilion
   estimateyourIiabilities I'
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                             Issorool-sloo,ooo                     I-Islo,ooo,ool-ssomilion            UR$1,
                                                                                                           000,000,001-$10bilion
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                           IZ $soo,Oo1-$1million                   U'1$100,000, 0014500mill ion        F1Morethan$50bill ion
 . .        Sign Eelow
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                                                 speti
                                                     tion,andIdeclareunderpenal
                                                                              tyofperjurythattheinformationprovi
                                                                                                               dedistrueand
 Foryou                           correct.
                                  I
                                  fIhavechosento file underChapter7,Iam awarethatlmay proceed'i      fel
                                                                                                       igibl
                                                                                                           e,underChapter7,11,  12,or13
                                  ofti
                                     tl
                                      e 11,Uni ted States Code.lunderstand the reliefavail
                                                                                         able undereachcbapter,and Ichoose to proceed
                                  underChapter7.
                                  Ifno attorney represents me and Idi
                                                                    d notpay oragreeto paysomeone who isnotanattorney to helpmefillout
                                  thisdocument,lhaveobtainedandreadthenoti
                                                                         cerequiredby11U.S.C,ç342(b),
                                  Irequestreli
                                             efin accordancewi ththe chapteroftitle 11,United StatesCode,speci
                                                                                                             fied inthispeti
                                                                                                                           ti
                                                                                                                            on.
                                  Iunderstand making afalse statement,concealing property,orobtaining moneyorpropedy byfraud inconnecti
                                                                                                                                      on
                                  withabankruptcycasecanresultinfinesupto$250,000,orimprisonmentforupto20years,orboth.
                                  18U.S.
                                       C.jâ152, 4 ,1519,and3571.
                                  x                          ;                          x
                                      Signature ofDebtor1                                   Si
                                                                                             gnature ofDebtor2

                                      Executed on                                           Executed on
                                                    MM I DD /YYY                                          MM / DD /YYYY



           OsicialForm 101                          Voluntary Petition forIndividualsFiling forBankruplcy                           Page 6
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                              1,theattorneyforthedebtoqs)namedinthi
                                                                  spetiti
                                                                        on,declarethatIhaveinformedthedebtorts)aboutel
                                                                                                                     igi
                                                                                                                       bifi
                                                                                                                          ty
Foryourattorney,ifyou are to proceed underChapter7,11,12,or13 oftitle 11,United StatesCode,and have explainedthe relief
represented by one        availableundereachchapterforwhichthepersoni   seli
                                                                           gible.Ialsocerti
                                                                                          fythatIhavedeli veredtothedebtoqs)
                              thenoticerequiredby11U.
                                                    S.C.9342(b)and,inacaseinwhichâ707(b)(4)(D)appl
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Ifyou are notrepresented      knowl
                                  edgeafteran inquirythattheinformation inthe schedul
                                                                                    esfiledwi
                                                                                            ththe petitionisincorrec .
byanattorney,you do not
need to file this page.       X     .       - .-
                                           -.             -                              oate          y? ZT Z.
                                                                                                       '
                                  signa re ofAttorneyforDebtor                                       MM    /    D /YYYY


                                   MARIO RIVAS
                                  Printed name
                                   LAW OFFICE OF MARIO RI
                                                        VAS
                                  Firm name
                                   3800 ORANGE STREET
                                  Number Street
                                   SUITE,150
                                   RIVERSIDE                                             CA           92501
                                  City                                                   State       ZIP Code



                                  Contactphone
                                                 951-715-4660                   Emai
                                                                                   jaddress mrivasesq@ aol.com

                                   201375                                                 CA
                                  Barnumber                                              State




        Oci                                        Voluntary Petition forIndividuals FilingforBankruptcy                    page 7
          cialForm 101
       Case 6:19-bk-10064-SY                Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                        Desc
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                                       STATEM ENT OF RELATED CASES
                                  INFO RM ATIO N REQ UIRED BY LBR 1015-2
        UNITED STATES BANKRUPTCY COURT,CENTRAL DISTRICT O F CA LIFO RNIA
   A peti
        tion underthe Bankruptcy Actof1898 orthe Bankruptcy Reform Actof1978 has previously been filed by or
   againstthe debtor,his/herspouse,his orhercurrentorformerdomestic padner,an affiliate ofthe debtor,any
   copartnershiporjointventure ofwhi
                                   chdebtorisorformerlywasageneralorIimited partner,ormember,orany
   corporationofwhichthe debtorisadirector,officer,orpersonincontrol,asfollows:(Setforththe completenumber
   andtitle ofeach such ofpriorproceeding,date filed,nature thereof,the Bankruptcy Judge and courtto whom
   assigned,whetherstillpending and,ifnot,the disposition thereof. lfnone,so indicate. Ajso,Iistany realproperty
   included inScheduleA/B thatwasfiledwithanysuchpriorproceedingtsl.)
   CASE# 97-16743 CH.7 STANDARD DISCHARGE 08/27/1997
   CASE# 6:18-bk-17755-SY DISMISSED 11/07/2018
   (I
    fpetitionerisapadnershiporjointventure)A peti
                                                tion underthe BankruptcyActof1898ortheBankruptcyReform
   Actof1978 has previously been filed by oragainstthe debtororan afhliate ofthe debtor,ora generalpartnerin the
   debtor,a relative ofthe generalpadner,generalpadnerof,orperson in controlofthe debtor,partnership in which the
   debtorisageneralpadner,generalpartnerofthe debtor,orperson incontrolofthe debtorasfollows: (Setforththe
   com plete numberand titl
                          e ofeach such priorproceeding,date filed,nature ofthe proceeding,the Bankruptcy Judge
   and courtto whom assigned,whetherstillpending and,i fnot,the disposition thereof.lfnone,so indicate.Also,Iist
   anyrealpropertyincludedin ScheduleA/B thatwasfiledwithanysuchpriorproceedingtsl.)


   (Ifpetitionerisa corporation)A petition underthe BankruptcyActof1898orthe Bankruptcy Reform Actof1978 has
   previously beenfiled byoragainstthe debtor,oranyofitsaffiliates orsubsidiaries,a directorofthe debtor,an officer
   ofthe debtor,a person in controlofthe debtor,a partnership in which the debtoris generalpadner,a generalpadner
   ofthe debtor,a relative ofthe generalpartner,director,officer,orperson in controlofthe debtor,orany persons,firm s
   orcorporationsowning20% ormoreofitsvotingstockasfoll
                                                      ows:(Setforththe completenumberandtitle ofeach
   such priorproceeding,date fil
                               ed,nature ofproceeding,the BankruptcyJudge and coud to whom assigned,whether
   stillpending,and i
                    fnot,the disposition thereof.Ifnone,so indicate. Also,Iistanyrealproperty included in Schedule
   A/B thatwasfiledwithanysuchpriorproceedingtsl.)


4. (Ifpetitionerisan individual)A peti
                                     tion underthe BankruptcyReform Actof1978,including amendmentsthereof,has
   beenfiledbyoragainstthedebtorwithinthe last180days:(Setforththecompletenumberand titleofeachsuch
   priorproceeding,date fil
                          ed,nature ofproceeding,the Bankruptcy Judge and courtto whom assigned,whetherstill
   pending,and ifnot,the dispositionthereof.Ifnone,so indi
                                                         cate.Also,Iistany realproperty included in Schedule A/B
   thatwasfiled withanysuchpriorproceedingtsl.)



Ideclare,underpenaltyofperjury,thattheforegoingistrueand correct.


Executed atRIVERSIDE                  ,
                                          california
                                                                           Signature ofDebtor1

oate:11/13/201t /tj! tj                                                    Signature ofDebtor2

         Thi
           sform ismandatory. l
                              thasbeen approved foruse inthe United StatesBankruptcyCourtforthe CentralDistrictofCali
                                                                                                                    fornia.
octoberzol8                                                  Page1                          F IOIS-Z.I.STMT.RELATED.CASES
               Case 6:19-bk-10064-SY                                 Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                                             Desc
                                                                     Main Document     Page 9 of 63
                     *     . *      * ee            *      . *


 Debtor1
                      ROSA ROBLES
                     FlrstName                          MlddleName                     LastName
 Debtor2
 (Spouse,iffiling) FlrstName                            MiddleName                     LastName
 Uni
   tedStatesBankruptcyCourtforthe:CentralDistri
                                              ctofCali
                                                     fornia
                                                                                                                                                                              j
                                                                                                                                                                              ,
                                                                                                                                                                               ' Check ifthis is an
 Case number
                     (Ifknownl                                                                                                                                                   amended filing



OfficialForm 106Sum
S um m ary of Your Assets and Liabilities and Certain StatisticalInform ation                                                                                                                12/15
Be as complete and accurate as possi
                                   ble.l
                                       ftwo married people are filing together,both areequally responsibleforsupplying correct
information.FilloutaIIofyourschedulesfirst;thencompletethe information on thisform.Ifyou are filing amended schedulesafteryou fil
                                                                                                                                e
youroriginalforms,you mustfillouta new Summarygnd checkthe box atthetop ofthis page.

-.
                Sum m arize YourAssets

                                                                                                                                                                        Yourassets
                                                                                                                                                                        Value ofwhatyou own

                                                                                                                                                                              $480,000.00




 *.             Sum m arize YourLiabilities


                                                                                                                                                                            Yourliabili
                                                                                                                                                                                      ties
                                                                                                                                                                            Amountyou owe
2.ScheduleD:CreditorsWhoHaveClaimsSecuredbyPropert
                                                 y(OfficialForm 106D)
      2a.Copythe totalyouIisted inCol
                                    umn A,Amountofclaim,atthe bottom ofthe I
                                                                           astpage ofPart1ofSchedule D ............                                                           s544,506.76

3.ScheduleE/F:CreditorsA/1(?HaveUnsect/redGlaims(Offi
                                                    cialForm 1O6E/F)                                                                                                           $().(jg
  3a.copythetotalclai
                    msfrom Part1(priorityunsecuredcl
                                                   aims)from Iine6eofSchedule8/F...........................................
      3b.copythetotalclaimsfrom Part2(nonpriorityunsecuredclaims)from Ii
                                                                       ne6jofSchedule6/F....................................... + $22,,6g.6j

                                                                                                                                         YourtotalIi
                                                                                                                                                   abili
                                                                                                                                                       ties                    $566,769.37

*.              Sum m arize YourIncom e and Expenses

4.Schedt//eI.YourIncome(Offi
                           ci
                            alForm 1061)                                                                                                                                       $3,921.00
      ()()r)séJ/tlurc()rnbini,drn()nthI
                                      yinc()rn()frt)rn Ii
                                                        n6,1:?()f1r()/16)çitllqtI........................................................................................

5.ScheduleJ:YourExpensestofrlcialForm 106J)
  Copy yourmonthlyexpensesfrom I                                                                                                                                                4,259.14




Offi
   cialForm 106Sum                                      Sum mary ofYourM setsand Liabilities and Certain StatisticalInformation                                                     page 1of2
           Case 6:19-bk-10064-SY                 Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                        Desc
             ROSA ROBLES                         Main Document    Page 10 of 63
                                                                                    Case number(ffknown)
              FlrstName   MiddleName         LastName


*.
       z    Answ erThese Questions forAdm inistrative and StatisticalRecords

6. Are you filing forbankruptcyunderChapters7,11,or13?
     Q No.youhavenothingtoreportonthispartoftheform.checkthisboxandsubmitthisform tothecourtwithyourotherschedules.
     De ves

7.w hatkind ofdebtdo you have?
     rd
      - Yourdebts areprimarily consumerdebts. Consumerdebtsare those 'incurred byan individualprimarilyfora peoonal,
        famil
            y.orhousehol
                       dpurpose.
                               ''11U.S.C.510148).FiloutI
                                                       ines8-% forstati
                                                                      sticalpurposes.28U.S.C.â159.
     Q Yourdebtsarenotprimarilyconsumerdebts.Youhavenothingtoreportonthi
                                                                       spartoftheform.Checkthi
                                                                                             sboxandsubmit
        thisform to thecourtwi
                             thyourotherschedules.


     From the StatementofYourCurrentMonthlyIncome Copyyourtotalcurrentmonthl
                                                                           yincomefrom Offi
                                                                                          cial
     Form 122A-1Line11'
                      ,OR,Form 1228 Line11.
                                          ,OR,Form 122C-1Line 14.                                                  $     2,500.00




9. Copythefollowing specialcategories ofclaims from Part4,line6 ofSchedule &E

                                                                                             Totalclaim

      From Part4on Schedule& E copythefollowing:
                                                                                             $             0.00
     9a.Domesticsuppo?tobligati
                              ons(Copyl
                                      ine6a.)
                                                                                             $             0.00
     9b.Taxesandcertainotherdebtsyouowethegovernment.(CopyIi
                                                           ne6b.)
                                                                                             $             0.00
     9c.Claimsfordeathorpersonalinjurywhileyouwereintoxicated.(CopyI
                                                                   ine6c.)
                                                                                             $             0.00
     9d.Studentloans.(Copyline6f.)
     9e.Obli
           gationsarising outofaseparation agreementordivorcethatyoudid notreportas          $
                                                                                                           0.00
        prioritycl
                 ai
                  ms.(CopyIi
                           ne6g.)
                                                                                         +                 0.00
     9f.Debtstopensionorprofit-shari
                                   ngplans,andothersimilardebts,(CopyIi
                                                                      ne6h.)                 $


     9g.Total.Add Iines9: through 9f.
                                                                                             $              0.00




     Offi
        cialForm 1O6Sum                 Summ ary ofYourAssetsand Liabilitiesand CertalnStatisticalInformation           page2 of2
'


                     Case
                      #  . 6:19-bk-10064-SY
                           *  # #*   @  . * ''                  :   Doc 1# Filed 01/04/19 Entered 01/04/19 13:29:10                          Desc
                                                                    Main Document     Page 11 of 63
    Debtor1                ROSA RO BLES
                           FlrstName               MlddleName               LastName
    Debtor2
    (Spouse.iffiling) FlrstName                    MlddleName               LastName
    United States Bankruptcy Courtforthe:CentralDistrictofCalifornia
    Case number
                                                                                                                                          I
                                                                                                                                          - Ichecki
                                                                                                                                                  fthisisan
                                                                                                                                              amended filing

    OfficialForm 106A/B
    Sc hed u Ie A /B :P rope rty                                                                                                                         12/1s
    In each category,separately Iistand describe items.Listan assetonlyonce. Ifan assetfits in more than one category,Iistthe assetin the
    categorywhereyouthinkitfitsbest.Beascompleteandaccurateaspossible.Iftwomarriedpeoplearefilingtogether,bothareequally
    responsibleforsupplying correctinformation.l
                                               fmore space is needed,attach a separale shee!to this form.On1he top ofany addillonalpages,
    writeyournameandcasenumber(ifknown).Answereveryquestion.
    -
        .     Describe Each Residence,Building,Land,or OtherRealEstate You Ow n orHave an Interest In
    1. Do you own orhave any I
                             egalorequitable interestin anyresidence,building,Iand,orsim ilarproperty?
            r---lNo.Gotopart2.
             I
             Q-Ives.w here isthe property?                             W hatisthe property? checkaIIthatappl
                                                                                                           y.         Do notdeductsecuredclaimsorexemptions.Put
                                                                       Xe Single-familyhome                           the amountofanysecured claims on Schedule D:
                    11226 ARIZO NA AVE                                                                                Creditors Wàl()Have Claims Secured byProperty:
                    Streetaddress,ifavailable,orotherdescription
                                                                       X Dupl exormul  ti-uni
                                                                                            tbuil
                                                                                                di
                                                                                                 ng
                                                                       C-ICondomi  nium orcooperati
                                                                                                  ve                  Currentvalue ofthe Currentvalue ofthe
                                                                       I-IManufacturedormobil  ehome                  entire property?   portion you own?
                                                                       r 1Land                                        $480,000.00           $ 480,000.00
                                                                       r-lInvestmentpropert y                         Describe the nature ofyourownership
                    Riverside                   CA       92503
                    City                        State    ZIP Code
                                                                       r 1Timeshare                                   interest(suchasfeesimple,tenancyby
                                                                       r 1other                                       theentireties,oraIifeestate),ifknown.
                                                                        W ho hasan interestin the property? checkone. Fee simpl  e
                                                                       Xz Debtor1onIy                                 U-ICheckifthisiscommunitypropedy
                    Ri
                     verside County
                    County                                             r--lDebtor2onl
                                                                                    y
                                                                       & Debtor1andDebtor2onl  y
                                                                       I--IAtl
                                                                             eastoneofthedebtorsandanother
                                                                        Otherinformationyouwishtoaddaboutthisitem!suchasIocal
                                                                        property identificatlon number:




            Ifyouown orhave more than one,Ii
                                           sthere:                     w hatis the propeny? checkaIIthatappl
                                                                                                           y.         Do notdeductsecured claims orexemptions.Put
                                                                       X si ngle-familyhome                           the amountofanysecured claimson Schedule D:
             1.2.                                                      1---
                                                                          1ouplexormul ti-unitbuil
                                                                                                 ding                 CreditorsW hoHaveClaimsSecuredbyProperty.
                    Streetaddress,ifavailable,orotherdescription       I--Icondominium orcooperative                  Currentvalueofthe Currentvalue ofthe
                                                                       !-1 Manufacturedormobil  ehome                 entire property?  ponion youown?
                                                                       r-luand                                        $                       $
                                                                       I'
                                                                        -IInvestmentproperty
                                                                       I--ITi
                                                                            meshare                                   Describe the nature ofyourownership
                    City                        State    ZlP Code
                                                                       I--Iotl
                                                                             aer                                      interest(suchasfeesimple,tenancyby
                                                                                                                      theentireties,oraIifeeslate),ifknown.
                                                                       W ho hasan interestin the propedy? Checkone.
                                                                       I-loebtor1only
                                                                       F-loebtor2only
                    County
                                                                       X oebtor1andDebtor2onl  y                      U-lcheckifthisiscommunityproperty
                                                                       r-lAtleastoneofthedebtorsandanother                (seeinstructi
                                                                                                                                      ons)
                                                                       Otherinformationyouwishtoaddaboutthisi
                                                                                                            tem,suchasIocal
                                                                       propertyidenti
                                                                                    ficallon number:
              Case 6:19-bk-10064-SY                         Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                               Desc
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                                                                w hatisthe propeny? checkaIlthatapply.          Donotdeductsecuredclaimsorexempti
                                                                                                                                                ons. Put
                                                                I--ISingle-familyhome                           theamountofanysecuredcl
                                                                                                                                      aimsonScheduleD:
                                                                r-l                                              creditorswhoHavecl
                                                                                                                                  aimssecuredbyPropert
                                                                                                                                                     y.
             streetaddress,ifavailable,orotherdescription           Duplexormulti-unitbuilding
                                                                X condomi    nium orcooperative                 Currentvalueofthe Currentvalueofthe
                                                                1-1                                             entire propedy?      portion you own?
                                                                    Manufactured ormobilehome
                                                                r-ILand                                         $                    $
                                                                r-lInvestmentproperty
             city                        State    ZIPCode r---lTi
                                                                meshare                                         Describethenatureofyourownership
                                                          f'-l                                                  interest(suchasfeesimple,tenancyby
                                                                    Other                                       theentireties, oraIifeestate),ifknown.
                                                                w ho hasan interestin the property? checkone.
                                                                r-lDebtor1only
             County                                             l- loebtor2onl
                                                                             y
                                                                X Debtor1andDebtor2only                         1--R Checkifthisiscommunilypropedy
                                                                I---IAtI
                                                                       eastoneofthedebtorsandanother                 (Seeinstructions)
                                                                Otherinformation you wishto add aboutlhis item,such as Iocal
                                                                propertyidenti
                                                                             fication number:




2.AddthedollarvalueoftheportionyouownforaIlofyourentriesfrom Part1,includinganyentriesforpages                                           $480,000.00
        you have attached

-
    .         Describe YourVehicles

Do you own,Iease,orhave Iegalorequitable interestin any vehicles,whelhertheyare regislered ornot? Include any vehicles
you ownthatsomeone elsedri
                         ves.I
                             fyou l
                                  ease a vehi cle,al
                                                   so reportiton Schedul
                                                                       e G:Executory Cont
                                                                                        ractsand Unexpi redLeases.

3. Cars,vans,trucks,traclors,sportutility vehicles,motorcycles
        re
         -lNo
        r-7 ves

             Make:                                              W ho has an interestinthe propedy? Checkone. oonotdeductsecuredclaimsorexempti
                                                                                                                                             ons. Put
                                                                CZ Debtor1onl
                                                                            y                                   theamountofanysecuredcl
                                                                                                                                      aimsonScheduleD:
             Model:                                                                                              creditors w àloHave ClaimsSecured byProperty.
                                                                S-IDebtor2onl
                                                                            y
             Year:                                              r-lDebtor1andDebtor2only                        Currentvalueofthe Currentvalueofthe
'
             Approximate mileage:                               X AtIeastoneofthedebtorsandanother              entireproperty?   portionyouown?
             Otherinformation:
    )                                                       .   X checkifthisiscommunityproperty(see            $
    ;
    i                                                             instructions)



                                                                W ho has an interestin the property?Checkone. oonotdeductsecuredcl
                                                                                                                                 aimsorexempti
                                                                                                                                             ons.Put
                                                                I---IDebtor1onl
                                                                              y                                  theamountofanysecuredcl
                                                                                                                                       aimsonScheduleD:
                                                                                                                 creditors who Have Claims Secured by Property.
                                                                X Debtor2onl  y
                                                                1-a Debtor1andDebtor2only                        Currentvalueofthe Currentvalueofthe
             Approximate mil eage;                              CR                                               entirepropedy?    porlionyouown?
                                                                   Atleastoneofthedebtorsandanother
             Otherinform ati
                           on:
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                                                                         ons)




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                                                                          W ho has an interestin the propedy? Checkone. oonotdeductsecuredclai
                                                                                                                                             msorexempti
                                                                                                                                                       ons. Put
            Make:                                                                                                                              the amountofanysecured claimson Schedule D:
            Model:                                                            Debtor1only                                                       creaitors whoHave Claims Secured by Property.
                                                                              Debtor2 only
            Year:                                                             Debtor1andDebtor2 only                                           Currentvalue ofthe Currentvalue oflhe
                                                                                                                                               entire property?   portion you own?
                                                                              AtIeastoneofthedebtorsand another

                                                                          ''jcheckifthisiscommuni
                                                                                                typropedy(see                                   $                              $
                                                                             instructi
                                                                                     ons)


                                                                          W ho hasan interestin the property?Checkone. Do notdeductsecured claims orexemptions.Put
            Make:                                                                                                                               the amountofanysecured claimson Schedule D:
            Model:                                                           :Debtor1 only                                                      Creditors ke o Have ClaimsSecuredby Property.
                                                                              Debtor2 only
            Year:                                                             Debtor1and Debtor2only                                            Currentvalue oflhe Currentvalue ofthe
                                                                                                                                                entire propedy?    poëion you own?
            Approxi
                  m atemil
                         eage:                                                AtIeastone ofthe debtorsandanother



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            j                                                   l
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            i                                                   r
                                                                l
4. W atercral,aircraft,motorhomes,ATVSand otherrecreationalvehicles,othervehi  cles,and accessories
   Examples:Boats,trai lers,motol
                                's,personalwatercraft,fi
                                                       shi
                                                         ngvessel
                                                                s,snowmobil
                                                                          es,motorcycl
                                                                                     e accessories
   le No
    r Yes
                                                                          W ho hasan interestin the propedy? Checkone. Donotdeductsecuredcl aimsorexemptions. Put
                                                                             IDebtor1only                              th
                                                                                                                        e amo  untofanysecu
                                                                                                                       creditorswhoHaveClai
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                                                                                                                                               aims on Sc
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                                                                              Debtor2 only
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                                                                                eastoneofthedebtorsandanother          enlire propeëy?        portion you own?

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    Ifyouown orhave more than one Iisthere:
                                                                          W ho has an Interestin the properly? cbeckone. Do notdeductsecured claims orexemptions.Put
     42 Make:                                                                                                            the amountofanysecuredclaimson Schedule D:
        M odel:                                                              IDebtor1only                                Creditors kV/10 Have ClaimsSecuredby Property.
                                                                              Debtor2only
        Year:
                                                                            1Debtor1andDebtor2only                       Currentvalueofthe Currentvalue ofthe
                                                                                                                         entire property?           portion you own?
                                                                              iAtI
                                                                                 eastoneofthedebtorsandanother

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                                                                              checkifthisiscommunitypropedy(see                                  $                              $
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                                                                              nstructi
                                                                                     ons)



s. AddthedollarvalueoftheportionyouownforaIIofyourentriesfrom Pal'                                t2,includinganyentriesforpages                                                    $0.00
   youhaveattachedfor!>1,11:1!.hl
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                 Case 6:19-bk-10064-SY                                      Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                                                               Desc
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* -
                 Describe Your Personaland Household Item s
                                                                                                                                                                                                Currentvalue ofthe
Do you own orhave anyIegalorequitable interestin any of1he following items?                                                                                                                     portion you own?
6. Household goods and furnishings                                                                                                                                                              Do notdeductsecured claims
                                                                                                                                                                                                orexemptions.
      ExamplesLMajorappliances,furniture,Iinens,china,ki
                                                       tchenwar:
      Q N                                 PERSONALHOUSEHOLDGooosANoF:ùRNlsHlNùs
             o                            Locv E AT RESIDENCE
      Z Yes.Describe.........
                                                                                                                                                                                                i 600.00
                                                                                                                                                                                                ($
                                                                                                                                                                                                i
7. Electronics
   Examples:Televisions and radios;audi
                                      o,video,stereo,anddigitalequipment;com puters,printers,scanners'
                                                                                                     ,m usi
                                                                                                          c
                     collections,
                                'el
                                  ectroni
                                        c devi
                                             çesinclqdi
                                                      nçcpllphones,cameras,medi
                                                                              a pl
                                                                                 ayers,garpes
      n xo                   MISCELLEANEOUS ELECTkONICS (OCATEDAT RESIDENCE                                                                                                                     r
                                                                                                                                                                                                l
                                                                                                                                                                                                ;
      l yes.Descri
                 be....,.,..                                                                                                                                                                    :
                                                                                                                                                                                                E $500.00

8.Colleclibles ofvalue
      Examples:Antiquesandfigurines;paintings,prints,orotherartwork;books,pictures,orotherartobjects'
                                                                                                    ,
               stamp,coin,orbaseballcard collecti
                                                onsr
                                                   'othercollections,memorabili
                                                                              alcoll
                                                                                   ectibles
      FZ No                   5
         Yes.Describe..........                                                                                                                                                                      $0.00

9. Equipmentforspons and hobbies
   Examples:Sports,photographi
                             c,exercise,andotherhobbyequipment'
                                                              ,bi
                                                                cycl
                                                                   es,pooltabl
                                                                             es,golfcl
                                                                                     ubs,ski
                                                                                           s'
                                                                                            ,canoes
            andkayaks',carpentrytools;musicalinstruments
                                                                                                                                                                                                E
             O                                                                                                                                                                                  y'
      r--l hr()s. r)()scribi),........,                                                                                                                                                              $0.00

10.Firearms
   Examples:Pi
             stols,ri
                    fl
                     es,shotguns,ammuni
                                      ti
                                       on,and relatedequipment
      re
       -lNo
      c Yes.Descri
                 be..........

11.Clothes
   Examples.
           .Everydaycl
                     othes,furs,Ieathercoats,desi
                                                gnerwear,shoes,accessories
      D No                  lMISCECLANEOUS CLOTHING ANb ACCESSORIESLOCATED AT REVIDENCE
      B ves.oescri
                 be.........,LOCATEDAT RESIDENCE                                                                                                                                                     $     *

12.Jewelry
      Examples:Everydayjewelry,costumejewelry,engagementrings,weddingrings,heirioom jewelry,watches,gems,
                     gold,silver

      m Yes.Descri
                 be..........ELOCATEDATRESIDENCE
13.Non-farm animals
   Examples:Dogs,cats,birds,horses
      e' No
         Yes.Describe..........

14.Any otherpersonaland household items you did notalready list,including any heallh aids you did notIist
      c.e No
      CR Yes.Givespecifi
                       c                                                                                                                                                                             $0.00
          inftlrrnlhtitln...............
1s.AddthedollarvalueofalIofyourentriesfrom Part3,includi                                      nganyentriesforpagesyouhaveattached                                                                    $1,450.00
   fllr!>111
           ,.:1.l!
                 /rittltit11
                           tIttlrïlt)(,r.1(,rtl.,,,,.................................,.,.,,...............
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- .
         z      Describe Your FinancialAssets

Do you own orhaveanyIegalorequitable interestin any ofthefoll
                                                            owing?                                                     Currentvalue ofthe
                                                                                                                       portion you own?
                                                                                                                       Do notdeductsecured claims
                                                                                                                       orexemptions.

16.Cash
   Examples:Moneyyouhave i
                         n yourwall
                                  et,in yourhome,ina safe deposi
                                                               tbox,and on hand whenyoufil
                                                                                         e yourpeti
                                                                                                  ti
                                                                                                   on


                                                                                              ()a61
                                                                                                  h1:.................... tp


17.Depositsofmoney
   Examples.Checking,savings,orotherfinancialaccounts,'certificatesofdeposi
                                                                          t'
                                                                           ,sharesincredi
                                                                                        tunions,brokeragehouses,
            andothersimilarinsti
                               tutions.Ifyouhave multipleaccountswiththe sameinstituti
                                                                                     on,I
                                                                                        isteach.
         No
      $: h4(,s.....................   Institut'
                                              lon narne'
                                                       .

      17.1.Checkingaccount:           W ELLS FARGO,RIVERSIDE,CA                                                          $35.00
      17.2.Checkingaccount:

      17.3.Savingsaccount:                                                                                               $
      17.4.Savingsaccount:                                                                                               $
      17.5.Certi
               ficatesofdeposi
                             t:                                                                                          $
      17.
        6.Otherfinancialaccount:                                                                                         $


      17,
        8.Otherfi
                nanci
                    alaccount:                                                                                           $




18.Bonds,mutualfunds,orpubliclytraded stocks
   Exampl
        es:Bond funds,i
                      nvestmentaccountswith brokeragefirms,money marketaccounts
      IEINo
      EZIves           ....
      Institution orissuername:
                                                                                                                          $
                                                                                                                          $
                                                                                                                          $


19.Non-publiclytraded stockand interestsin incorporated and unincorporated businesses,including an interestin
      anLLC,padnership,andjointventure
  Z No
  Q YOS.GiveSPOCZC
     informationabout
     them .........................
  Name Ofentity:




                                                                                                                                   9a9e 5 of10
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20.Governmentand corporate bonds and othernegotiable and non-negotiable instruments
   Negotiableinstrum ents i
                          nclude personalchecks,cashiers'checks,promissorynotes,and m oneyorders.
   Non-negotiableinstrumentsare thoseyoucannottransfertosomeonebysigning ordeli   vering them .
   1
   *
   W No
   X YOS.Gi
          veSpeci
                fi
                 c
       information about
       them......................
    Issuername:




21.Retirementorpension accounts
    Examples:InterestsinIRA,ERISA,Keogh,401(k),403(b),thri
                                                         ftsavingsaccounts,orotherpensionorprofit-sharingpl
                                                                                                          ans
    ra No
   1---1Yes. Listeach
         accountseparately.            Instituti
                                               on name:
         Type ofaccount:
 401(k)orsi
          mil
            arplan:
 Pension plan:
 IRA:
 Retirementaccount:
 Keogh:
 Additionalaccount:

 Additionalaccount:


zz.securitydeposits and prepayments
   Yourshare ofaIlunuseddepositsyou have madeso thatyou maycontinueservi
                                                                       ce orusefrom acom pany
   Examples.Agreementswi
                       thl
                         andl
                            ords,prepai
                                      drent,publ
                                               icutil
                                                    iti
                                                      es(el
                                                          ectric,gas,water),telecommuni
                                                                                      cations
   companies,orothers
   re
    -lNo
   1
   --RYes..............,,.,,.,.,....   Institution nam e orindividual:
Electric:                                                                                                       $
Gas:                                                                                                            $
Heatingoil:                                                                                                     $
Rentalunit:                                                                                                     $
Prepaid rent:                                                                                                   $
                                                                                                                q.
Telephone:
                                                                                                                1
                                                                                                                ç'
                                                                                                                 1
                                                                                                                 .
W ater:
Rented furniture:
Other:                                                                                                          %q/'



z3.Annuities(A contractforaperiodicpaymentofmoneytoyou,ei    therforIi
                                                                     feorforanumberofyears)
   ra No
   r-lYes......................... Issuernameanddescription:




                                                                                                                          naag 6 m+ 10
                                                                                                                          Z Y      -
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24.lnterests inan education IRA,in anaccountina quali
                                                    fi
                                                     ed ABLE program ,orundera quali
                                                                                   fied state luilion program.
  26U.S.C.jj530(b)(1),529A(b),and529(b)(1).
  r-
   a No
  IS YeS ..................................... jnsti
                                                   tutionnameanddescripti
                                                                        on.SoparatolyfiIetherecordsY anyinterests.11U.S.C.5521(c):




25.Trusts,equitableorfutureinterestsinproperty(otherthananythingIisted inIine1),andrightsorpowers
   exercisable foryourbenefit
  re
   -; No
  1
  -1Yes. Give specific
                                                                                                                                 $0.00
      informationaboutthem...g
                             !

26.Patents,copyrights,trademarks,tradesecrets,and otherintellectuaiproperty
   ExamplesïInternetdomain names,websi
                                     tes,proceedsfrom royal
                                                          ties and li
                                                                    censi
                                                                        ng agreements
  re
   -; No                      E
                              i
  r---lYes. Givespecific      i
       informationaboutthem..,@                                                                                                  $0.00
                                   1
                                   .
                                   E


27.Licenses,franchises,and othergeneralintangibl  es
   ExamplesLBuilding permits,excl
                                usi
                                  ve Iicenses,cooperative associ
                                                               ation hol
                                                                       dings,IiquorIi
                                                                                    censes,professi
                                                                                                  onalIi
                                                                                                       censes
  r-l
   e No
  r-lYes. Givespecific
     informati
             onaboutthem...                                                                                                      $0.00

Moneyorpropedyowed to you?                                                                                                           Currentvalue ofthe
                                                                                                                                     portion you own?
                                                                                                                                     Do notdeductsecured
                                                                                                                                     claims orexemptions.

28.Tax refundsowed to you
  re-lNo
  I---IYes. Givespecificinformation                                                                        Federal:            $0.00
            aboutthem,includingwhether ë
                                       j                                                                                       $0.00
           you alreadyfiled the returns             ë                                                      State:
           2ndth()tlhX#6,S1rs.......................'                                                                          $0.00
                                                  :


29.Fam ily support
   Examples:PastdueorIumpsum ali
                               m ony,spousalsupport,child support,m aintenance,di
                                                                                vorce settl
                                                                                          ement,propertysettl
                                                                                                            ement
  r
  -
  elNo
  CRYes. Give specificinformation..............(
                                               E
                                                                                                          Alimony:                   s0.00
                                                                                                          Maintenance:               $0.00
                                                                                                          Support:                   $0.00
                                                                                                          Divorce sedlement:         $0.00
                                                                                                          Propedysettlement:         $0.00

30.Otheramounts someone owesyou
   Sxamp/es.
           'Unpaid wages,disabil ityinsurancepayments,disabil
                                                            ity benefi
                                                                     ts,sickpay,vacati
                                                                                     on pay,workers'compensati
                                                                                                             on,
            SocialSecurity benefits'
                                   ,unpaid Ioansyou madeto someone el  se
  I-l
   e No
  C-IYes. Gi
           vespeci
                 ficinformati
                            on...............                                                                                        $0.00


                                                                                                                                              p39e 7 Of 10
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31.Interests in insurance policies
      Examples:HeaI
                  th,disabili
                            ty,orI
                                 ifeinsurance'
                                             ,heal
                                                 thsavingsaccount(HSAI'
                                                                      ,credi
                                                                           t,homeowner's,orrenter'
                                                                                                 sinsurance
      re
       'N No
      r-lYes.Nametheinsurancecompany companyname:                                  Beneficiary:                                                                                       Surrenderorrefundvalue:
                  ofeachpolicyand Iisti
                                      tsval
                                          ue....
                                                                                                                                                                                      $
                                                                                                                                                                                      $
                                                                                                                                                                                      $
32.Any interestin propedythatis due youfrom someonewho has died
   Ifyouare thebeneficiaryofa I
                              ivingtrust,expectproceedsfrom a Ii
                                                               fe i
                                                                  nsurancepolicy,orare currentlyenti
                                                                                                   tl
                                                                                                    edto recei
                                                                                                             ve
   propedybecausesomeonehasdi     ed.
      I
      -elNo
      S---I                                     (               .

           Yes.Gi
                vespeci
                      fi
                       cinformation.............                                                                                                                                       n (jc
                                                                .                                                                                                                     $:.:.

33.Cl
    aims againstthird parties,whetherornotyou havefil   ed a Iawsuitormade a demand forpayment
   Examples:Accidents,employmentdi sputes,insurance claims,orrightstosue
      M
      Ie lNo                                                    i
                                                                I
      C-lYes. Describeeachcl
          .                aim......              l
                                                  i
                                   ,..............i
                                                  !                                                                                                                                    n ()tl
                                                                i                                                                                                                     $%-
                                                                                                                                                                                        '-
34.Othercontingentand unliquidated claimsofeverynature,including counterclaims ofthe debtorand righls
   to setoffcl
             aims
      XelNo
      X Yes. Describeeachcl
                          aim...........,........                                                                                                                                      n (jtl
                                                                                                                                                                                      $*-'.


35.Any financialassetsyou did notalreadyIist
      r-l
       e No
      C'
       R Yes. Givespecificinformati
                                  on...........                                                                                                                                       $0.00

36.Add 1he dollarvalueofalIofyourentriesfrom Pal'
                                                t4,including anyentries forpages you haveattached
      forPart4.Writelhatnumberhere ...........................................................................................................................................*       $35.00


* -               Describe Any Business-Related Property You Ow n or Have an Interest ln.List any realestate in Part 1.

37.Do you own orhaveanyIegalorequitable interestin anybusiness-related property?
   r-
    z
    ---No. Go to Part6.
   r-lYes. Goto Iine 38.
                                                                                                                                                                                  Currenlvalueofthe
                                                                                                                                                                                  portionyou own?
                                                                                                                                                                                  Do notdeductsecured claims
                                                                                                                                                                                  orexemptions.
38.Accounts receivable orcommissions you already earned
      r-lNo
      I
      --Iyes. Describe......
                                                                                                                                                                                  3
39.Office equipment,furnishings,and supplies
      Examples:Business-related computers,software modems,printers,copiers,fax machines,rugs,telephones,desks,chairs electronicdevices
      r1No
      O ves. oescribe.......


                                                                                                                                                                                                page 8 of 1O
                                                                                                                                                                                                           . .
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40.Machinery,fixtures,equipment,supplies you use in business,and tools ofyourtrade
      r-7 No
      r-lves. Describe,,,....


41.lnventory
      r-lNo
      r
      ----lves. Describe.......

42.Inlerestsinpadnershipsorjointventures
   r-lNo
   IU Yes. Describe....... Name ofentity:                                                                                                                           g'
                                                                                                                                                                     oofownershi
                                                                                                                                                                               p:
                                                                                                                                                                                  ol              $
                                                                                                                                                                                  Q/o             $
                                                                                                                                                                                  C/o             $

43.CustomerIisls,mailing Ii
                          sts,orothercompilations
     I'-INo
    1---1Yes.DoyourIistsincludepersonallyidentifiableinformation(asdefinedin11U.
                                                                               S.C.j101(41A))?
             r-3No
             I---IYes.Descri
                           be.....,.

44.Anybusiness-related propedy you did notalreadyIist
      r-lNo
      r---lYes.Givespeci
                       fi
                        c                                                                                                                                                                         $
             inftlrrnéptitln.........
                                                                                                                                                                                                  $
                                                                                                                                                                                                  $
                                                                                                                                                                                                  $
                                                                                                                                                                                                  $
                                                                                                                                                                                                  $
45.AddthedollarvalueofaIIofyourentriesfrom Pal                              't5,i    ncludinganyentriesforpagesyouhaveattached                                                                    $0.00
   fllrr'1,rl65.1l/riti
                      ll1111trltlrllk)(!r11(!rth..........,,.........,...,.....................................
                                                                                                              ,.,.,........
                                                                                                                          ,,,...,...............,
                                                                                                                                                ........................,...,,.............*ilb


* .      .         Describe Any Farm-and Com m ercialFishing-Related Property You Ow n orHave an InterestIn.
                   Ifyouown orhave an interestin farm land,listitin Part1.

46.Do you own orhave anylegalorequilable interestin any farm-orcommercialfishing-related property?
   F?
    -INo. Goto Part7.
   1
   - lYes. Goto Iine47.
                                                                                                                                                                                                  Currentvalueofthe
                                                                                                                                                                                                  portionyou own?
                                                                                                                                                                                                  Do notdeductsecured claims
                                                                                                                                                                                                  orexemptions.
47.Farm animals
   Sxamp/es:Li
             vestock,poul
                        try,fanm raised fish
      r-lNo




                                                                                                                                                                                                            Page 9 of 10
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48.Crops--eithergrowing orharvested
     I'-INo
     I---
        IYes Givespecific
                .
          inform ation.............
49,Farm and fishing equipment,implements,machinery,fixtures,and loolsoftrade
     r-lNo


50.Farm and fishing supplies,chem icals,and feed
     r1 No
     SS A/()t;...................,.....

51.Any farm-and commercialfishing-related property you did notalready Iist
     r-lNo
     r---lYes.Givespecifi
                        c
          informati
                  on,........,..                                                                                                                                                             $

52.AddthedollarvalueofaIIofyourentriesfrom Part6,includinganyentriesforpagesyouhaveattached                                                                                                  $0.00
   ftlr1:11rl(
             $.l!
                /rilt
                    l!11z'
                         t11tlrrlk)(,ri1(,rtp................................
                                                                            ,.,.,..,..................................................................................................Kilh


--
                    Describe AIIProperty You Ow n orHave an Interestin ThatYou Did N ot ListAbove

53.Do you haveotherpropedy ofany kind you did notalready Iist?
     Examples:Season tickets,countryclub membership
     r-
      .-
       z
       -lNo
     r-lYes.Givespeci
                    fi
                     c
          informati
                  on..,,........



54.Add thedollarvalueofallofyourentriesfrom Pad 7.Writethatnumberhere..............................................................+                                                          $0.00


*.
         :          List the Totals of Each Part of this Form

5(5.S'11rl1:1r()tilIr(,1                                                  .......................................................,................................................................Kilb 1$480,000.00
                       lI4,1$tiltt),lirlfl;!...............,,.......,,.,,.,
56.Part2:Totalvehicles,Iine 5                                                                              $0.00
57.Part3:Totalpersonalandhousehold items,Iine15                                                            $1,450.00
58.Part4:Totalfinancialassets,Iine 36                                                                      $35.00
59.Part5:Totalbusiness-related property,Iine45                                                             $0.00

60.Pad 6:Totalfarm-andfishing-related propedy,Iine 52                                                      $0.00

61.Part7:Totalotherpropedy notIisted,Iine 54                                                            + $0.00
62.Totalpersonalproperty.AddI
                            ines56through61....................                                            s1.485.00                       :copypersonalpropertytotal+ + s1,485.00
                                                                                                                                           ,,




                                                                                                                                                                                             $481,485.00


                                                                                                                                                                                                          page 1O Of 10
                                                                                                                                                                                                                      - -
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                  *    . *     * .*   *      . *

 D                ROSA ROBLES
  ebtor1
                  FlrstName               MlddleName             LastName
 Debtor2
 (spouse,iffiling) FlrstName              MlddleName             LastName
 UnitedStatesBankruptcyCourtforthe:CentralDistrictofCalifornia
 Case number                                                                                                                 I---Icheckifthisisan
 (lfknown)                                                                                                                       amended filing


OfficialForm 106C
S ched u Ie C :T he Prope rty You C Ia *
                                       1m a s Exe m pt                                                                                     4/16
Be ascomplete and accurateaspossible.Iftwo married people arefilingtogether,both are equall
                                                                                          y responsibleforsupplying correctinformation.
UsingthepropertyyouIistedonSchedul
                                 e+8.
                                    'Property(Offi
                                                 cialForm 1O6A/B)asyoursource,Iistthepropertythatyoucl
                                                                                                     aim asexempt.Ifmore
space i
      s needed,filoutand attach to thi
                                     s pageasmany copi
                                                     esofPart2:AdditionalPage asnecessary.Onthetopofany addi
                                                                                                           ti
                                                                                                            onalpages,write
yournameandcasenumber(ifknown).
Foreach i tem ofpropertyyou claim asexempt,you mustspeci     fy the amountofthe exem ption you cl  aim.Oneway ofdoing so is to state a
specific dollaram ountas exempt.Alternatively,you may claim thefullfairmarketvalue ofthe propertybeing exem pted up to theam ount
ofany applicable statutory Iimit.Some exem ptions- such as those forhealth aids,rights to receive certain benefi
                                                                                                               ts,and taxexempt
retirementfunds- may be unlimited in dollaramount.However,i   fyou claim an exem ption of100% offairmarketvalue undera Iaw that
Iim itstheexem ption to a padiculardollaramountand thevalueofthe property is determ ined toexceed thatam ount,yourexem ption
would be Iimitedto the applicable statutory amount.

  *-           Identi
                    fy the Property You Claim as Exem pt

 1. w hich setofexemptions are you claiming? Check one only,evenifyourspouseisfiling withyou.
       Xe Youarecl
                 aimingstateandfederalnonbankruptcyexempti
                                                         ons.11U.S.C.j522(b)(3)
       D Youareclaimingfederalexemptions.11U.S.C.j522(b)(2)

 2. Forany propedyyou IistonSchedule A/S thatyou claim as exempt,fillin the information below.

       Briefdescriptionofthepropertyand Iine on Currentvalue ofthe                 Am ountofthe                    Specisc lawsthatallow exem ption
       ScheduleA/B thatIiststhis property       podion you own                     exem ption you claim
                                                Copythevaluefrom                   Checkonlyonebox
                                                Schedule4/8                        foreach exemption
               Household goods-PERSONAL HOUSEHOLD                                                                  Cal.Ci
                                                                                                                        v.Proc.Codej703.140(b)(3)
 Brief         GOODSAND FURNISHINGS                     60()cc
 descripti
         on:LOCATEATRESIDENCE                                $    '           re
                                                                               -l$ 6O0.00
                                                                              r-l100% offai
                                                                                          rmarketval
                                                                                                   ue,upto
 Line from                                                                       any applicable statutoryIimit
 ScheduleX/8.   ' 6
              Clothing-MISCELLANEOUS CLOTHING AND                                                                  Cal.Civ.Proc.Codej703.140(b)(3)
 Brief
 descr        AccEssoRlEsLOCATEDATRESIDENCE                  $ 200.00         re
                                                                               -l$ 20O,00
       iption:LOCATEDAT RESIDENCE
                                                                              I-
                                                                               N 100Q/ooffairmarketvalue,upto
 Linefrom                                                                         any applicable statutory Iimit
 Schedule4/8.   ' 11
 Brief        Jewel ry-MISCELLANEOUS                                                                               Cal.Civ.Proc.Code9703.140(b)(4)
              LOCATED   AT RESIDENCE JEW ELRY                $j5o.cc          rs-l
                                                                                z$ 150.0O
 description:
                                                                              I-N 100% offairmarketvalue,upt
                                                                                                           o
 Li
  nefrom                                                                          anyappli
                                                                                         cablestatut
                                                                                                   oryIi
                                                                                                       mit
 Schedule+ 8:
 3. Areyoucl  aiming ahomesteadexemptionofmorethan$160,3757
    (Subjecttoadjustmenton4/01/19andevery3yearsafterthatforcasesfiledonorafterthedateofadjustment.)
    r-l
     e No
    X Yes. Didyou acquire the propedycovered bytheexemptionwithin 1,21sdaysbefore you filed thiscase?
       r 1 No
       r-3 Yes

Offici
     alForm 106C                                        ScheduleC;ThePropertyYouClaim asExempt                                         page1of2 -
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Debtor       ROSA RO BLES                        Main Document    Page 22 of 63
             FlrstName    MiddleName         LastName



 p.
            AdditionaIPage
      Briefdescriptionofthe property andIine             currentvalueofthe   Am ountOfthe                        specificIawsthatallow exem ption
      on schedule A /a thatIists this property                               exem ption you claim
                                                         portion you own
                                                         copythevaluefrom    checkonlyonebox
                                                         scheduleA/B         foreachexemption
            WELLS FARGO,RI
                         VERSI
                             DE,CA (Checki
                                         ng)                                                                      j703.140(b)(5),
                                                                                                                                .j703.140(b)(1)
Brief
description:                                              &35.00             I
                                                                             -
                                                                             e
                                                                             --
                                                                              l$35.00
Linefrom
                                                                             I
                                                                             -I100Q
                                                                                  /ooffai
                                                                                        rmarketvalue,upto
                                                                                anyapplicable statutoryIimit
Schedule/t/8,'
Brief
description'
           .                                              $                     $
                                                                               100% offairmarketvalue,upto
                                                                               anyapplicable statutorylimit
Li
 ne from
Schedule4/  8.
             '
Brief
description:                                              $                  X $
                                                                             I
                                                                             ---I100%offairmarketval
                                                                                                   ue,upto
Linefrom                                                                        anyapplicablestatutoryIimit
Schedule m 8.'
Brief
description:                                                                 X $
Linefrom
                                                                             F1100%offairmarketvalue,upto
                                                                                any applicable statutory Iimit
ScheduleA/B:
Brief
descripti
        on:                                               $                  X $
                                                                             I
                                                                             '-I100%offai
                                                                                        rmarketvalue,upto
Line from                                                                       anyapplicable statutory Iimit
Schedule+ 8. .
Brief
description:                                              $                  n$
                                                                             U1100%offairmarketval
                                                                                                 ue,upto
Linefrom                                                                        any applicable statutorylimit
Schedule+ 8..
Brief
descripti
        on:                                               $                  X$
                                                                             1-R 100% offairmarketval
                                                                                                    ue,upto
Line from                                                                       anyappliceablestatutoryIimit
ScheduleA/B:
Brief
description:                                              $                     $
                                                                                100% offairmarketvalue,upto
                                                                                any applicable statutory Iimit
Line from
Schedule+ 8, '
Brief
description:                                              $                  X $
                                                                             F1100%offairmarketval
                                                                                                 ue,upto
Linefrom                                                                        any applicable statutory Iimit
Schedule+ 8.  '
Brief                                                     $                  X $
descri ption:
                                                                             U1100%offai
                                                                                       rmarketvalue,upto
Line from                                                                       anyapplicable statutory Iimit
ScheduleA/B:
Brief
descri ption:                                             $                     $
                                                                                100% offairmarketvalue,upto
                                                                                anyapplicablestatutoryIimit
Linefrom
ScheduleAe.  '
Brief
description:                                              $                  n$
                                                                             I
                                                                             --
                                                                              R 100%offai
                                                                                        rmarketvalue,upto
Linefrom                                                                        anyapplicable statutory Iimit
ScheduleAf.
          '

 OfhcialForm 106C                                 ScheduleC:ThePropertyYouClaim asExempt                                         page2 of2
                                                                                                                                      -     -
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                  *      . *   * :*     #      - +

                  ROSA ROBLES
 Debtor1
                  FlrstName                 MlddleName                LastName
 Debtor2
 (Spouse,iffiling) FlrstName                MlddleName                LastName
 United States Bankruptcy Courtforthe:CentrajDistrictofCalifornia

 Case number
 (1fknown)                                                                                                                                 Check ifthis is an
                                                                                                                                           amended filing

 O fficialForm 106D
 Schedule D :C reditors W ho H ave C laim s Secured by Property                                                                                         12/1s
 Beas complete and accurateas possible.Iftwo married peoplearefiling together,both are equally responsibleforsupplying correct
 inform ation.lfmore spaceis needed,copy the AdditionalPage,fillitout,num bertheentries,and attach itto this form .On thetop ofany
 additionalpages,writeyournameandcasenumber(i
                                            fknown).
 1. Do anycreditors have claims secured by yourproperty?
    !-1No. checkthisboxand submitthisform tothe courtwithyourotherschedules.Youhave nothingelseto reporton thisform.
    lrlYes. FillinalIofthe information below.

 *-
               ListAlISecured Claim s
                                                                                                          ColumnA                 ColumnB              Column C
 2. ListaIIsecured claims.Ifacreditorhasmore than onesecured claim ,Iistthecreditorseparately             Amountofclaim           Valueofcollateral    Unsecured
    foreach claim.Ifmore thanone creditorhas aparticul
                                                     arclai
                                                          m ,Iisttheothercreditorsin Part2.               oonotdeductthe          thatsupportslhis     podion
    Asmuch aspossi  bl
                     e,Iisttheclai
                                 m sinalphabeticalorderaccordingtothe creditor'
                                                                              s name.                     valueofcoll
                                                                                                                    ateral.       Claim                lfany
 2'1 MR.COOPER HOMELOANS                    Describethe propertythatsecuresthe claim:                     $ 445,296.46            $ 480,000.00     $ 64,506.76

      credi
          tor'sName
                                                  )
                                                  -
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       po Box60516                                :                                                                           I
      Number          Street                                                                                                  )
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      CITY OF INDUSTRY            91716              1-1 Conti
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       y                    state zlPcode            F-IUnliqui
                                                              dated
  Who owesthedebt?checkone.                          F-IDisputed
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  '
  -e lDebtor1only                                      Nature ofIien.CheckaIIthatapply.
  1
  - lDebtor2only                                     I'
                                                      e-lAnagreementyoumade (suchasmortgageorsecured
  I
  ---IDebtor1andDebtor2onl y                              carI
                                                             oan)
  I
  - IAtl eastoneofthedebtorsandanother               I-IstatutoryIi
                                                                  en(suchastaxIien,mechanic'sIien)
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                                                                   enfrom alawsuit
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           fthisclaim relatestoa                     C-Iother(includingarighttooff
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     comm unity debt
  Datedebtwasincurred 01/15/2008                       Last4digitsofaccountnumber 9664
I2,
  21SLS                                                Describethe propedythatsecures theclaim;           $ 99,210.30             $ 480,
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      credi
          tor'sName                                7
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       8742 LUCENT BOULEVARD,SUITE 3O(:
      Number          Street                                                                                                  !
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                                                     Asofthe dateyoufile,theclaim is:CheckaIIthatapply.
     HIGHLAND RANCH CO 80129                         1-1contingent
    city                     state zI
                                    Pcoue            1--7 unl i
                                                              quidated
  who owesthedebt?Checkone.                           F--1 Disputed
  U*
   -I
   ' Debtor1only                                      Natureoflien.Checka1lthatapply.
  X Debtor2only                                       ra
  1
  -I                                                      Anagreementyouma(jtjjsucjjasmortgageorsecured
       Debtor1andDebtor2onl y                              carIoan)
  r-lAtleastoneofthedebtorsandanother                 r-IstatutoryIien(suchastaXIien,mechanic'sIien)
  X                                                   I
                                                      --R Judgmentli  enfrom aI
                                                                              awsuit
       Checkifthisclaim relatestoa                    1
                                                      -l
       community debt                                      Other(includi
                                                                       ngarighttooffset)
   Datedebtwasincurreu 01/15/20OE                      uast4digi
                                                               tsofaccountnumber 7097
       Addthedollarvalueofyourentri
                                  esinColumnAonthispage.Wri
                                                          tethatnumberhere: 1544.506.76 j
      Offici
           alForm 106D                       Schedule D:CreditorsW ho Have Claims Secured by Property                                         1
                                                                                                                                              739* 1Of 1
              Case 6:19-bk-10064-SY                 Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                        Desc
                ROSA ROBLES                         Main Document    Page 24 of 63
Debtor1                                                                              Case numberçifknownj
                FlrstName     MlddleName       Las!Name
  *.             List Others to Be Notified fora DebtThal You Already Listed
 Usethis pageonly ifyou have othersto be notifiedaboutyourbankruptcyforadebtthatyoualready Iisted inPart1.Forexam ple,ifa collection
 agency istryingto collectfrom youforadebtyou oweto someoneelse,listthe creditorin Part1,and then Iistthecollectionagency here.Sim ilarly,if
 you have m orethan onecreditorforany ofthedebtsthatyouIisted in Part1,Iisttheadditionalcreditorshere.Ifyoudo nothave additionalpersonsto
 benotifiedforanydebtsin Part1,do notfilloutorsubmitthispage.
                                                                                 Onw hi/h Iine inPart1didyou enterthecreditor?
                                                                                 Last4 digitsofaccountnum ber
       Name




       City                                       State       ZIP Code
                                                                                 Onwhich I
                                                                                         inein Pad 1 did youenterthecreditor?
                                                                                 Last4digitsofaccountnum ber
       Name

       Street



       City                                       State       ZP Code
                                                                                 Onw hich Iine inPart1didyou enterthe creditor?
                                                                                 Last4digitsofaccountnum ber
       Name




       City                                       State       Z1P Code
                                                                                 Onw hich Iine inPart1didyouenterthecreditor?
                                                                                 Last4 digie ofaccountnumber


       Street



       City                                       State       ZIP Code
                                                                                 Onw hich Iine inPart1didyou enterthe credi
                                                                                                                          tor?
                                                                                  Last4 digits ofaccountnum ber




                                                                                  Onwhich Iinein Part1did youenterthecreditor?
                                                                                  Last4 digitsofaccountnumber


       Street



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  OfficialForm 106D                        Part2 ofSchedule D:CreditorsW ho Have Claims Secured by Propedy                    page 1
               Case 6:19-bk-10064-SY                               Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                           Desc
                    *     . *      * :*           :      . œ       Main Document    Page 25 of 63
                    ROSA ROBLES
  Debtor1
                    FlrstName                         MlddleName                LastName
  Debtor2
  (Spouse,iffiling) FlrstName                         Ml
                                                       ddleName                 LastName
  United StatesBankruptcyCourlforthe: CentralDistrictofCalifornia
                                                                                                                                         j
                                                                                                                                         ' Check ifthis is an
  Case number                                                                                                                              amended filing
  (Ifknown)

OfficialForm 106E/F
Schedule E/F:C reditors W ho H ave U nsecured C la im s                                                                                              12/1s
Beas complete and accurateaspossible.Use Part1forcreditorswi   th PRIORIR claimsand Part2forcreditorswith NONPRIORIW claim s.
Listtheotherpartyto any executorycontracts orunexpired Ieases thatcould resultin aclaim.Also Iistexecutory contracts on Schedule
A/1;Property(OfficialForm 106A/B)andonScheduleG;ExecutoryContractsand Unexplred Leases(OfficialForm 106G).Donotincludeany
credltorswith partiallysecured cl
                                aims thatare Iisted in ScheduleD:Credltors Who Have Claims Secured by Property.I
                                                                                                               fm ore space is
needed,copythe Partyou need,fillitout,numbertheentries in theboxesonthe left.Ahach theContinuation Page to this page.Onthe top of
anyaddi
      tionalpages,writeyournameandcasenumber(ifknown).
 œ.            ListAllofYour PRIORITY Unsecured Claim s
 1. Do any credi
               tors have priori
                              ty unsecured claimsagainstyou?
    I-
     Z No. GotoPart2,
      r--lyes,
 2. ListaIlofyourpriority unsecured claims.Ifacredi    torhasmore thanone priorityunsecured cl aim,Iistthecreditorseparatel
                                                                                                                          yforeachcl  aim.For
   eachclaim Iisted,identifywhattype ofclaim i tis.lfaclai
                                                         m has bothpriorityand nonpriorityamounts,Iistthatclaim hereand show both priori
                                                                                                                                       tyand
    nonpriori
            tyamounts.As muchas possibl   e,Iisttheclaim sin alphabeti
                                                                     calorderaccordingto the creditor's name.Ifyou have morethantwo priority
    unsecured claims,fillouttheContinuation Page ofPad 1.l fmorethanone creditorholdsa particularclaim,listtheothercreditorsinPart3.
      (Foranexpl
               anationofeachtypeofcl
                                   aim,seetheinstructionsforthisform intheinstructionbooklet.)
                                                                                                                            Totalclaim   Priority   Nonpriority
                                                                                                                                         amount     am ount
2.1
                                                                        Last4 digitsofaccountnum ber
       PriorityCreditor'sName
                                                                        W henwasthedebtincurred?
       Number            Street
                                                                        As ofthedateyoufile,the claim is:CheckalIthatapply.
                                                                        I
                                                                        ---Iconti
                                                                                ngent
       city                               state        zlPcode          I
                                                                        ---Iunl
                                                                              iqui
                                                                                 dated
        W ho incurred the debt? Checkone.                               l
                                                                        - 1Disputed
       r'-lDebtor1onl y                                                 Type ofPRIORIW unsecured claim :
       I
       - IDebtor2onl  y                                                 r---lDomesticsupportobl
                                                                                              igations
       C3Debtor1andDebtor2onl    y                                      X Taxesandcert   ainotherdebtsyouowethegovernment
       I----
           IAtleastoneofthedebtorsandanother                            1---1claimsfordeathorpersonalinjurywhi
                                                                                                             l
                                                                                                             eyouwere
       I----
           ICheck ifthisclaim isforacommuni  tydebt                         intoxicated
                                                                        1---1otl
                                                                               ner. specify
        Istheclaim subjecttooffset?
        rlxo

2.2                                                                     Last4 digits ofaccountnumber
        prioritycreditor'sName                                          W henwasthedebtincurred?

        Number          ' street                                   --   As ofthe dateyoufile,theclaim is:Checkallthatapply.
                                                                        I---
                                                                           Iconti
                                                                                ngent
                                                                        IU Unliqui
                                                                                 dated
        cj
         s                                state         Z1PCode         rD ojsputed
              O inGkllTedthe debt?CheckOne.
              Debtor1only                                               TypeofPRIORITY unsecured claim :
       IN Debtor2only                                                   I---IDomesticsupportobligations
       F-IDebtor1andDebtor2onl   y                                      r--lyaxesandcert ainotherdebtsyouowethegovernment
       I---IAtIeastoneofthedebtorsandanother                            I---Icj
                                                                              aimsfordeathorpersona!i  njurywhil
                                                                                                               eyouwere
        I
        O ICheckifthisclaim isforacommunity debt                           i
                                                                           ntoxicated
                                                                        1D Other.Specify
        lsthecl
              aim subjecttooffset?
        :     No
              Yes
 Offi
    cialForm 106E/F                                            Schedule E/F:CreditorsW ho Have Unsecured Claims                                 paqe 1of5
Debtor1             Case
                     ROSA6:19-bk-10064-SY
                          ROBLES                               Doc 1 Filed 01/04/19 Entered
                                                                                      Case numb01/04/19
                                                                                               er(ifknown, 13:29:10                                                                                                                                Desc
                         FlrstName      MlddleName     LastNaMain
                                                             me     Document    Page 26 of 63
 œ.                  List AIIofYourNON PRIORITY U nsecured Claim s
 3. Do anycreditors havenonpriorityunsecured claims againstyou?
    IQ No. Youhave nothing to reportin this pad.Subm itthisform tothe courtwithyourotherschedules.
      IQ-Ives
 4. ListaIIofyournonpriority unsecured claim s in the alphabeticalorderofthe creditorwho holds each claim .I   facredi  torhas m orethanone
    nonpriority unsecured claim,Ii
                                 stthe creditorseparatel
                                                       yforeach claim.Foreachclaim Ii sted,identi
                                                                                                fywhattypeofclaimi tis.Do notI istclaimsalready
    includedin Part1.I fmorethan one credi torholdsa parti
                                                         cularclaim,Iisttheothercreditorsin Part3.l
                                                                                                  fyou have more than three nonpriority unsecured
    claimsfillouttheContinuationPage ofPart2.
          AaRON ALAN PEST CONTROL                                                                                                                                                                                                                              Totalcl
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4.1                                                                                           uast4di
                                                                                                    gitsofaccountnumber 8050                                                                                                                            $197.00
         Nonpri
              ori
                tyCredi
                      tor'
                         sName                                                                whenwasthedebti
                                                                                                            ncurred?                                                              09/30/2016
          6211ANTIOCH AVE
         Number               Street
                                                                                              As ofthe date you file,the claim is:CheckaIIthatapply.
          RIVERSIDE                                  CA            92504                      l-Iconti ngent
         City                                        State            ZIP Code                !-1Unli qui
                                                                                                        dated
         W ho incurred the debt? checkone.                                                    1--
                                                                                                7 Disputed
        rl
         e Debtor1onIy                                                                        Type ofNONPRIORITY unsecured claim ;
        r-l Debtor2only                                                                       O Studentl  oans
        r 1Debtor1andDebtor2only                                                              UN Obl igati
                                                                                                         onsarisingoutofaseparati
                                                                                                                                onagreementordivorce
        C-lAtIeastoneofthedebt
                             orsandanother                                                           thatyou did notreportaspriority claims
         ID Checkifthi s claim isforacommunitydebt                                            I-R Debtstopensionorprofit-sharingpl
                                                                                                                                 ans,andothersimilardebts
                                                                                              V 1 other.specifyDeficiencyBalance
         Isthe claim subjecttooffset?
          -
          kJNo
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                             FA XjLAV                                                                 tsofaccountnum ber 8359
                                                                                              Last4digi                                                                                                                                                 $5,798.61
                                                                                                                                                                                                                                                               -
                                                                                              whenwasthedebtincurred? 07/17/2017
         NonpriorityCreditor'sName
          P.
           O .BOX 145566
          Number              Street                                                          As ofthedateyou file,theclaim is:CheckaIIthatapply.
                                                                                              r-lcontingent
              Cinci
                  nnati                              OH            45250
          city                                       state            zlPcode
                                                                                              rl
                                                                                               .z Unliquidated
                oincurred thedebt?Checkone,                                                   I-IDisputed
              1 Debtor1only                                                                   Type ofNONPRIORITY unsecured claim:
          1
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            1 Debtor2only                                                                     I-N Studentl oans
          r1Debt  or1andDebtor2onl y                                                          1-1Obl  i
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                                                                                                                               onagreementordi
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          ---1Atleastoneofthedebtorsandanother                                                         thatyou did notreportas priority claims
                                                                                              !-
                                                                                               N Debtstopensi  onorprofit-sharingplans,andothersimil
                                                                                                                                                   ardebts
          I'
           -ICheck i
                   fthisclaim lsfora communitydebt                                            lV1 Other. Specify lncome Taxes
              I
              stheclaim subjecttooffset?
          iK No
          L-..
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4'' ''
     FXANKLINCOLLECTION SERVICE,INC.                                                          Last4digitsofaccountnumber 7379                                                                                                                              $198.00
          Nonprioritycreditor'ssame                                                           W henwasthe debtincurred?
              P.O .BOX 3910
          Num ber              Street
                                                                                              Asofthe dateyou file,theclaim is:CheckaIIthatapply.
              TUPELO                                 MS             38803-3910                 1--1contingent
              ity                                      tate                ode                 O Unli quidated
          W ho i
               ncurred thedebt? Checkone.
                                                                                               (-1 Di
                                                                                                    sputed
          I-
           z Debtor1onIy
          1--1Debt
                 or2only                                                                      Type ofNONPRIORIR unsecured claim:
          ID Debtor1and Debtor2only                                                           I--
                                                                                                R Studentloans
          !-1AtIeastoneofthedebtorsandanother                                                 1-N Obli
                                                                                                     gati
                                                                                                        onsarisi
                                                                                                               ngoutofasepar
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                                                                                                       thatyoudid notreportas priorityclaims
          C-ICheckifthisclaim isfora communitydebt                                            I-I Debtstopensionorprofit-shari
                                                                                                                             ngplans,andothersimilardebts
                                                                                              I'
                                                                                               21 other.specifycollection Agency
          I
          stheclaim subjecttooffset?
              e' No
          V 'Yes
      OfficialForm 106E/F                                    Schedule E/F:CredltorsW ho Have Unsecured Claims                                                                                                                                                       nane 2 of 5
Debtor1
               Case
                ROSA6:19-bk-10064-SY
                     ROBLES    -
                                                                 Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                Desc
                    FlrstName      MlddieName               Main
                                                      LastName        Document    Page 27 of 63
* .            ListA1!ofYourNONPRIORITY Unsecured Claim s
3. Do any credi
              torshave nonpriority unsecured claim s againstyou?
      No.You have nothingto reportinthispart.Subm itthisform to thecourtwithyourotherschedules.
   7 Yes
4. ListaIIofyournonpriori ty unsecured claim sinthealphabeticalorderofthecredi   torwho holds each claim.Ifa creditorhasmorethan one
   nonpriorityunsecuredclaim,listthe credi
                                         torseparatelyforeachclaim.Foreach cl
                                                                            aim I
                                                                                isted,identi
                                                                                           fywhattype ofclaim i
                                                                                                              tis.Do notIistclaimsalready
   incl
      udedin Part1.lfmorethan onecredjtorholdsa particularclaim,listtheothercredi
                                                                                tors inPart3.Ifyou have morethanthree nonpriori
                                                                                                                              ty unsecured
   clai
      m sfillouttheContinuati
                            onPage ofPart2.
                                                                                                                                                     Totalclaim
44     INFI
          NITY INSURANCE                                                        Last4di
                                                                                      gitsofaccountnumber 1001
       NonpriorityCreditor'sName
                                                                                                                                                 $1,500.00
       P.O .BOX 2153
                                                                                Whenwasthedebtincurred? 03/08/2016
       Number           Street
       DRAW ER#2537
                                                                                Asofthe dateyoufile,theclaim is;Checkallthatapply.
       BIRMINGHAM                                   AL            35287-2537
       City                                         State          ZIPCode      r-lcontingent
                                                                                r1 Unliquidated
       W ho incurredthe debt? Checkone,                                         C-1Disputed
       1
       -$
        -
        ,
        -1Debtor1onI
                   y                                                            Type ofNONPRIORI      TY unsecured claim ;
       CN Debtor2onl
                   y                                                            r-lstudentI oans
       X 1Debtor1andDebtor2onl
                             y                                                  C-IObligationsarisingoutofaseparati
                                                                                                                  onagreementordivorce
       r 1AtI
            eastoneofthedebt
                           orsandanother                                            thatyoudid notreportaspriority claims
                                                                                CN Debtstopensi onorprofi
                                                                                                        t-shari
                                                                                                              ngpl
                                                                                                                 ans,andothersimil
                                                                                                                                 ardebts
       & Gheckifthisclaim lsforacommuni
                                      tydebt                                    r21 otber,speci
                                                                                              fy Defi
                                                                                                    ciencyBal  ance
       Istheclaim subjecttooffset?
        Y'
        .2' No
       L.
             ;Yes
4 5 pkékëkizlkù i'
                 i/éi t
                      jijùisiktsi
                                ë                                                uast4digi
                                                                                         tsofaccountnumber2937                                   $3,000.00
                                                -           --                   whenwasthedebtincurred? 04/11/2014
       NonpnorityCreditor'sName
        1025 N SHEPARD STREET
       Number            Street                                                  As ofthedate you file,theclaim is;Checka1lthatapply.

        Anaheim                    '                CA             92806         1
                                                                                 r-l
                                                                                  --I Contingent
        city                                        state           Z1P code         Unliquidated
       W ho incurredthedebt?Checkone.                                            I---IDi sputed
       l-l
        e Debtor1only                                                            v#Pe ofNONPRIORITY unsecured claim :
       X Debtor2onl y                                                            1--1 StudentIoans
       l-lDebtor1and Debtor2only                                                 I--I Obli gations arising outofa separation agreementordivorce
       ID AtIeastoneofthedebtorsandanother                                            tjjatyoudi dnotreportaspri    ori
                                                                                                                      tyclaims
       I-ICheck ifthisclaim isforacommunitydebt                                  C1 Debtsto pensi     onorprofi t-sharingplans,andothersi
                                                                                                                                        milardebts
                                                                                 lD Other.Speci    fy Home /CarRepairs
        I
        sthe claim subjecttooflset?
       IyrIxo

 6      RlvEaslps coux'       ry DEPARTMENT oFANIMALsERvlcEs                     uast4digitsofaccountnumber P0784335
 .
                                                                                                                                                     $1,069.00
        xonpriori
                tycreui
                      tor'sxame                                                  whenwasthedebtincurred? 11/16/2015
           6851VAN BUREN BLVD
        Number            Street
                                                                                 Asofthe dateyoufile,theclaim is:CheckaIlthatapply.
         Riverside                          CA                     92509         r lcontingent
          It
           y                                 tat
                                               e                        ode      ra Unli
                                                                                       quidated
         Whoincurredthedebt?Checkone.                                            1-lDi
        r7
         -1Debtor1onIy                                                                sputed
       !-7 Debtor2only                                                           Type ofNONPRIORIR unsecured claim:
       1D Debtor1andDebtor2onl  y                                                I'
                                                                                  -IStudentIoans
        ID Atleastoneofthedebtorsandanother                                      CN Obli
                                                                                       gationsari
                                                                                                si
                                                                                                 ngoutofaseparati
                                                                                                                onagreementordivorce
                                                                                     thatyou did notreportas priorityclaims
       X Checkifthisclaim isforacommunity debt                                   IN oebtstopensionorprofi
                                                                                                        t-sharingplans,andothersi
                                                                                                                                milardebts
       l                                                                          I
                                                                                  -
                                                                                  WIOther.Specify
       stheclaim subjecttooffset?
       6/No
       .

       - -    Yes

     OfficialForm 106E/F                                    Schedule E/F:CreditorsW ho Have Unsecured Claims                                               pane 3 of 5
                     Case
                      ROSA6:19-bk-10064-SY
                           ROBLES                                                                    Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                                                                                                     Desc
Debtor1
                         FlrstName                   MiddleName                                  Main
                                                                                           LastName       Document    Page 28 of 63
 *
     .               ListAIlofYourNONPRIORITY Unsecured Claim s
 3. Do any creditors have nonpriority unsecured claims againstyou?
    r--1No. You have nothingto reportinthispart.Submitthisform to thecoud withyourotherschedules.
         V1ves
 4. ListaIIofyournonpriority unsecured claimsinthealphabeticalorderofthecredi        torwho holds each claim.Ifa creditorhasmorethanone
    nonpriori
            tyunsecuredclaim ,Iistthe credi
                                          torseparatelyforeachclaim.Foreach cl aim listed,identi
                                                                                               fywhattype ofclaim i
                                                                                                                  tis.Do notIistcl
                                                                                                                                 aimsal
                                                                                                                                      ready
    incl
       udedin Part1.lfmorethan one credi  torholdsa parti
                                                        cufarclaim,listtheothercreditor'
                                                                                       sin Pad 3.l
                                                                                                 fyouhave morethanthree nonpriorityunsecured
    clai
       m s5lloutthe Conti
                        nuati
                            on Page ofPart2.
                                                                                                                                                                                                                                                                               Totalclaim
4.7       STATE BOARD OF EQUALIZATI
                                  ON                                                                                                               Last4digi
                                                                                                                                                           tsofaccountnumber 063-971301
         NonpriorjtyCreditor'sName
                                                                                                                                                                                                                                                                           $Z,000.00
           P 0.Box 942879                                                                                                                          Whenwasthedebtincurred?
          Number                  Street

                                                                                                                                                   Asofthe dateyoufile,the claim is:Checkallthatapply.
           SACRAMENTO                                                                  CA                   94279-0056
          City                                                                         State                 ZIPCode                               r 1conti  ngent
                                                                                                                                                   r-lUnl  iquidated
          W ho incurred thedebt?checkone.                                                                                                          I---IDisputed
          I-z Debtor1onIy                                                                                                                          Type ofNONPRIORI        TY unsecured claim :
          1-7 Debtor2only                                                                                                                          r-lstudentIoans
          r-lDebtor1andDebtor2onl y                                                                                                                I-N Obl igatîonsarisingoutofaseparati
                                                                                                                                                                                       onagreementordivorce
          1--1Atleastoneofthedebt
                                orsandanotber                                                                                                              thatyoudid notreportaspriority claims
                                                                                                                                                   r-l Debtstopensionorprofi
                                                                                                                                                                           t-shari
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                                                                                                                                                                                    ans,andothersimil
                                                                                                                                                                                                    ardebts
          r-lGheckifthisclaim isforacommuni
                                          tydebt                                                                                                   ID Other.Specify
          Istheclai
                  m subjecttooffset?
          LY
           - .J
              No
4 8 Tl:Iù (
          A kbtjik? ûlkl
                       f                                                                                                                            uast4digi
                                                                                                                                                            tsofaccountnumber62434249                                                                                      $300.00
                                                                                                                                                    wllenwasthedebtincurred? 04/12/2017
           NonpriorityCreditor'sName
           47 RICHARDS AVE
           Number   Street                                                                                                                          As ofthedateyoufile, theclaim is:CheckaIIthatapply.

            NORW ALK                                                                    CT                  06857                                   r-l
                                                                                                                                                    C*1contingent
           city                                                                         State                  ZIP Code                                     Unliquidated
          W ho incurredthedebt? Checkone.                                                                                                           r'N Disputed
          1-1
           7 Debtor1only                                                                                                                            Type ofNONPRIORI       TY unsecured claim :
          r-lDebtor2only                                                                                                                            ra st
          C1                                                                                                                                               udentl oans
             Debtor1andDebtor2only                                                                                                                   r-lObl igationsari
                                                                                                                                                                      sjngoutofaseparati  onagreementordivorce
          X Atleastoneofthedebtorsandanother                                                                                                            thatyoudi  dnotrepodaspri  ori
                                                                                                                                                                                     tyclaims
          I'
           -Icheckifthisclaim isforacom m unitydebt                                                                                                 I--I Debtsto pensi onorprofi
                                                                                                                                                                               t-sharingplans,andothersi
                                                                                                                                                                                                       milardebts
                                                                                                                                                    rn other.speci   fy Creditcard Debt
           Isthecl
                 aim subjecttooffset?
    'K No
    l 1 )r
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 .9  Tn/m sw oRuo svsTEus INc.                                                                                              ua       s  t    4     di    g  it s   o  f a c co       un       t  numb            e   r    30550083
                                                                                                                                                                                                                                                                                              $3,200.00
     Nonpriori
             tycredi
                   tor'sName                                                                                                Whenwasthedebtincurred?
      P.O.BOX 15520
           Number                   Street
                                                                                                                                                     Asofthe dateyou5Ie,theclaim is:CheckaIIthatapply.
            W ILMI
                 NGTON                        DE                                                             198505520                               I---Icontingent
            It
             l/                                tE
                                                ttl                                                               (
                                                                                                                  )t,                                IK
                                                                                                                                                      -- CIUnli
                                                                                                                                                              quidated
           Whoincurredthedebt?Checkone.                                                                                                              I-IDi
          1-71Debtor1onIy                                                                                                                                   sputed
          !-1oebtor2onl y                                                                                                                            Type ofNONPRIORIR unsecured claim:
          1--
            R Debtor1andDebtor2only                                                                                                                  C' 1 StudentIoans
          ID AtIeastoneofthedebtorsandanother                                                                                                        C--IObli gabonsarisi
                                                                                                                                                                        ngoutofaseparati
                                                                                                                                                                                       onagreementordivorce
                                                                                                                                                             thatyou did notreportas priorityclaims
           X Checkifthisclaim isforacommunitydebt                                                                                                    r-loebtstopensionorprofi
                                                                                                                                                                            t-sharingplans, and othersimilardebts
                                                                                                                                                     l'
                                                                                                                                                      -
                                                                                                                                                      .zlot
                                                                                                                                                          her.speci
                                                                                                                                                                  fy Coll
                                                                                                                                                                        ectionAgency
           Istheclaim subjecttooffset?
            <'xo
                !Yes

      Offi
         cialForm 106E/F                                                                         Schedule E/F:CreditorsW ho Have Unsecured Claims                                                                                                                                           nane 4 of 5
Debtor1    Case
            ROSA6:19-bk-10064-SY
                 ROBLES                           Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10         Desc
                                                       .-
             FlrstN
                  -ame    MlddleName            Main
                                          uastName     Document    Page 29 of 63
*-     z   Add the Am ounts for Each Type of Unsecured Claim

6.Totaltheamountsofcedaintypesofunsecuredclaims.Thisinformati
                                                            onisforstatisticalreportingpurposesonly.28 U.S.C.9159.
     Add theam ounts foreach type ofunsecured claim.



                                                                           Totalclaim

            6a.Domesticsupportobli  gations                          6a,    $                   0.00
Totalclaims
from Part1 6b. Taxes and certain otherdebl youowethe
               government                                            6b. $                      0.00

              6c.Claimsfordeathorpersonalinjurywhil
                                                  eyouwere
                   intoxicated                                              $                   0.00
               6d.Other.Add aIIotherpri
                                      ority unsecured cl
                                                       aims.
                  W ri
                     tethatam ounthere.                              6d. + $                    0.00


               6e.Total.Addlines 6a through 6d.                      6e.
                                                                            $                   0.00


                                                                            Totalclaim

Totalclaims 6f. StudentIoans                                         6f.    $                   0.00
from Part2 6g. Obli jationsarisingoutofaseparationagreement
                ordlvorcethatyou did notreportas priority                   $                   0.00
                claims                                               6g.
               6h.Debtsto pension orprofi
                                        t-sharing plans,and other
                  sim ilardebts                                             $                   0.00

               6i.Other.AddaIIothernonpriorityunsecured claims.
                  W ri
                     tethatamounthere.                                     + $           22,262.61


               6j.Total.Addlines6fthrotl
                                       gh6i.                         6j.     $           22,262.61




  Offici
       alForm 106E/F                         Schedule E/F:CreditorsW ho Have Unsecured Claims                    page 5 of 5
             Case 6:19-bk-10064-SY                      Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                      Desc
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                ROSA ROBLES
 Debtor          FlrstName                 MdddleName               LastName
 Debtor2
 (Spouselffiling) FlrstName                MlddleName               LastName
 United States Bankruptcy courtforthe CentralDistrictofCalifornia

 Case number
 (1fknown)
                                                                                                                      I-TR checkifthisisan
                                                                                                                            amended filing


O fficialForm 106G
Schedule G :Executory C ontracts and U nexpired Leases                                                                              12/15
Be as complete and accurate as possible.lftwo married peoplearefiling together,both are equally responsible forsupplying correct
information.Ifmore space is needed,copytheaddîtionalpage,fillitout,numberthe entries,and attach i   tto this page.On thetop ofany
additionalpages,wri
                  teyournameandcasenumber(ifknown).

 1. Do you have anyexecutorycontractsorunexpired Ieases?
     --lNo. check thisboxand filethisform withthe courtwith yourotherschedules.Youhave nothing else to reportonthis form.
   I--
     e
    I----Ives.FillinalIofthei
                            nformationbelowevenifthecontractsorI
                                                               easesareIi
                                                                        stedonScheduleNB:Properlytoffici
                                                                                                       alForm 106A/B).
 2. Listseparatelyeachpersonorcompanywi   thwhom youhavethecontractorI      ease.Thenstatewhateachcontractorleaseisfor(for
    example,rent,vehicleIease,cellphone).Seetheinstructionsforthisform intheinstructionbookletformoreexamplesofexecutorycontractsand
      unexpired Ieases.


      Personorcompanywith whom you have the contractorIease                       State whatthe contractorlease is for




      Street




      Street

      City                             State     ZIP Code


      Name

      Street

      City                             State     ZIP Code
2.5
      Name

      Street

      City                             State     ZIPCode

Offici
     alForm 106G                               ScheduleG;ExeeutoryContractsandUnexpiredLeases                                 page1of1--
             Case 6:19-bk-10064-SY                        Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                         Desc
                                                          Main Document    Page 31 of 63
                  @    - *     @ :*      *        *

                  ROSA ROBLES
 Debtor1          FlrstName                  MlddleName             LastName
 Debtor2
 (Spouse,iffiling) FlrstName                 MtddleName             LastName
 United States BankruptcyCourtforthe:CentralDistrictofCalifornia

 Case number
 (1fknownà                                                                                                                       Check ifthis is an
                                                                                                                                 amended filing

O fficialForm 106H
S chedule H :Y our Codebtors                                                                                                                la/ls
CodebtorsarepeopleorentitieswhoarealsoIiableforanydebtsyoumayhave.Beascompl        eteandaccurateaspossible.Iftwomarriedpeople
arefilingtogether,b0thareequallyresponsibleforsupplylngcorrectinformation.lfmorespaceisneeded,coqytheAdditionalPage,fillitout,
and numberthe entries in the boxes ontheIeft.AttachtheAdditionalPage tothis page.Onthe topofanyAddltionalPages,write yourname and
casenumber(i
           fknown).Answereveryquestion.
 1.Doyouhaveanycodebtors?(lfyouarefili
                                     ngajointcase,donotIi
                                                        steitherspouseasacodebtor.)
     V No
          Yes
 2. WithintheIast8years,haveyouIivedinacommunitypropertystateorterritory?(Commf  pn/lypropertystatesandterritoriesinclude
    Arizona,Cali
               fornia,l
                      daho,Loui
                              si
                               ana,Nevada,New Mexico,PuertoRico,Texas,Washington,andW isconsin.)
         No.Go to Ii
                   ne3.
       V Yes. Di
               d yourspouse,formerspouse,orIegalequivalentIivewith youatthetime?
           e No
             Yes.I
                 n which communi
                               tystate orterri
                                             torydi
                                                  d you Ii
                                                         ve?                               .Fi
                                                                                             llinthe name and currentaddressofthatperson.


                Nameofyourspouse,formerspouse,orIegalequivalent


                Number         Street



 3. lnColumn 1,Ii staIIofyourcodebtors.Do notinclude yourspouse as a codebtorifyourspouse isfilingwithyou.Li    stthe person
     shown in Iine2 again as acodebtoronlyifthatperson is aguarantororcosigner.M ake sure you have Ii
                                                                                                    sted the creditoron
       ScheduleD (OfficialForm 106D),ScheduleE/F(OfficialForm 106E/F),orSchedtlleG (Offi
                                                                                       cialForm 106G).UseScheduleD,
       Schedule& 6.orScheduleGto5lloutColum n2.
        Column 1:Yourcodebtor                                                                     Column,
                                                                                                        2.
                                                                                                         'Thecreditortowhom you owethe debt
                                                                                                   checka1Ischedulesthatapply:

 3.1                                                                                              r---lScbeduleD, Iine
                                                                                                  I--IScheduleE/F,Iine
                                                                                                  I--R ScheduleG,line
         city                                             State                2IP Code

 3.2                                                                                              X scheuul    eo, Iine
         Name                                                                                     I----IscheduleE/F,Iine
         street                                                                                   r-1schedul   eG,Ii ne


                                                                                                   X schedul eo,Iine
                                                                                                   C-lscheduleE/F,Iine
                                                                                                   I
                                                                                                   -I sci
                                                                                                        aeduleG,Iine
         City                                              State                ZiP Code

 Offici
      alForm 106H                                                  ScheduleH:YourCodebtors                                         paqe1of 1
             Case 6:19-bk-10064-SY                     Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                        Desc
                                                       Main Document    Page 32 of 63
                  *    . :     * :*   @      . *


                      ROSA ROBLES
 Debtor1          FhrstName               MiddleName          La&tName
 Debtor2
 (Spouse,iffiling) FirstName              MpddleName          LastName
 Uni
   tedstatesBankruptcyCourtforthe: CentralDi
                                           strictofCali
                                                      forni
                                                          a
 Case number                                                                                check ifthis is:
 (Ifknown)                                                                                  F'
                                                                                            :-lAnamendedfiling
                                                                                            1
                                                                                            ,
                                                                                            . 1A supplementshowing postpetition chapter13
                                                                                               incom e as ofthe foll
                                                                                                                   owing date:
OfficialForm 1061                                                                                  MM /DD/YYYY
S c he d u Ie I'
               .Yo ur Inc om e                                                                                                        l2/ls
Beascompleteand accurateaspossible.lftwomarried peoplearefilingtogether(Debtor1andDebtor2),bothareequallyresponslblefor
supplyingcorreetinformation.Ifyouaremarriedandnotfilingjointly,andyourspouseisIivingwithyou,includeinformatlonaboutyourspouse.
lfyouareseparatedandyourspouseisnotfilingwithyou,do notincludeinformationaboutyoursyouse.I
                                                                                         fmorespaceisneeded,attacha
separatesheettothisform.Onthetopofanyadditionalpages,writeyournameand casenumber(Ifknown).Answereveryquestion.

 *
     .           Describe Em ployment

     Fillin youremployment                                         Debtor1                                Debtor2 ornondiling spouse
     information.
     lfyouhavemorethanonejob,
     attach aseparate pagewith        E                                                                   1
                                                                                                          .
                                                                                                          :....
                                                                                                              1Employed
     informationaboutaddi ti
                           onal        m ploymentstatus          u Empl
                                                                      oyed
     employers.                                                 rz-lsotempl
                                                                          oyed                            n,
                                                                                                           ' Notemployed
     lnclude part-ti
                   m e,seasonal,or
     self-employed work.
                                      Occupation
     Occupation mayincludestudent
     orhomemaker,ifitapplies.
                                      Employer's name

                                      Employer's address
                                                                Number Street                            Number Street




                                                                 City           State   ZIP Code         City                State ZIP Code
                                      How Iong employedthere?


  * -            Give DetaiIs About Monthly Incom e
     Estimate monthlyincomeas ofthe date you filethisform .lfyou have nothing to reportforany I
                                                                                              ine,wri
                                                                                                    te $0 inthespace.Includeyournon-fili
                                                                                                                                       ng
     spouse unl
              ess you areseparated.
     Ifyouoryournon-filing spouse havemorethan one employer,combine theinformation foraIlempl
                                                                                            oyersforthatperson on the I
                                                                                                                      ines
     below,I
           fyou need more space,attach aseparate sheettothisform.
                                                                                        ForDebtor1        ForDebtor2 or
                                                                                                          nonWiIing spouse
 2.Listmonthlygrosswages,sal ary,and commissions(beforeaIIpayroll
   deductions).Ifnotpai
                      dmonthl
                            y,cal
                                culatewhatthemonthlywagewouldbe.                        $                   $
  3.Estim ate and Iistmonthlyovertime pay.                                           +$                   + $

  4.Calcul
         ate gross income.Add line2 + line 3.                                   4.      $                      $


OiicialForm 1061                                             Schedule 1:YourIncome                                                  Rage 1
Debtor1     Case
             ROSA6:19-bk-10064-SY
                   ROBLES                        Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                       Desc
              FirstName   MiddleName          LastNaMain
                                                    meDocument    Page 33Cas
                                                                           ofe numbe
                                                                                63 r(ifknownt
                                                                                   ForDebtor1     ForDebtor2 or
                                                                                                  non-filin spplj.!.
                                                                                                                   y..-
                                                                                   $                $

    5a.Tax,Medicare,and SocialSecuri  ty deductions                        5a.                      $
    5b.Mandatorycontributions forretirementplans                           5b.                      $
    5c.Voluntary contributionsforretirementplans                           5c.                      $
    5d.Required repayments ofretirementfund Ioans                          5d.                      $
    5e.Insurance                                                           5e.                      $
    5f. Domestic suppod obligations                                        5f.                      $
    5g.Union dues                                                          5g.                      $
    5h.Otherdeductions.Speci
                           fy:                                             5h.




 6.Addthe payrolldeductions.Addlines5a +5b+ 5c+5d+ 5e+5f+ 5g+ 5h.                  $                $
 7.Calculate totalmonthlytake-home pay.SubtractIine 6from Iine4.                   $                $

 8.ListaIIotherincome regularly received:
    8a.Netincomefrom rentalpropertyand from operating abusiness,
       profession,orfarm
       Attacha statementforeach property andbusinessshowing gross
       receipts,ordinaryand necessarybusiness expenses,and thetotal      $               0.00       $
       monthl y netincome.                                           8a.
    8b.lnterestand dividends                                         8b. $               0.00       $
    8c.Family supportpaymentsthatyou,a non-filing spouse,ora dependent
       regularlyreceive
          Includeal
                  imony,spousalsupport,chil
                                          dsupport,maintenance,di
                                                                vorce              $     0.00       $
          settlement,andpropertysettlement.                                8c.
    8d. Unemploymentcompensation                                           8d. $         0.00       $
    8e. SocialSecurity                                                     8e, $       921.00       $
    8f. Othergovernmentassistancethatyou regul
                                             arly recei
                                                      ve
          Includecashassi stanceandthevalue(i
                                            fknown)ofanynon-cashassistance
          thatyoureceive,suchasfoodstamps(benefitsundertheSupplemental
           Nutri
               ti
                onAssistanceProgram)orhousingsubsidies.                            $     0.00
          Speci
              fy:                                                          8f.
    8g.Pension orretirem entincom e                                        8g.     $     0.00        s
    8h Othermonthly income.Speci
                               fy: ROOMATESMONTHLY CONTRI
                                                        BUTI
                                                           ON              8h.+ $ 3,000.00        +$
 9.Add aIIotherincome.Add Ii
                           nes8a + 8b + 8c + 8d + 8e + 8f+8g + 8h.          9. $ 3,921.00          $

1O.Calculate monthly income.Add Ii ne 7 + Iine 9.                                  $ 3,921.00 +      $                    = $ 3,921.00
   Addthe entries i
                  n Iine 10forDebtor1 and Debtor2 ornon-fili
                                                           ng spouse.       1O.
11.State aIIotherregularcontributionstotheexpensesthatyou Iistin Schedule J.
   lnclude contributionsfrom anunmarried partner,membersofyourhousehold,yourdependents,yourroommates,andother
   friends orrelati
                  ves.
   Do notincl ude anyamounts already included inIines2-10oramountsthatare notavailabl
                                                                                    e to payexpensesIi
                                                                                                     sted in ScheduleJ.
   Specify:                                                                                                          11.+ $         0.00
12.AddtheamountintheIastcolumnofIine10totheamountinIine11.Theresultisthecombinedmonthl        yincome.                           3,921.00
   W ritethatamountontheSummaryofYourAssetsandLi
                                               abi
                                                 litiesandCertainStatisticalInformati
                                                                                    on,i
                                                                                       fitapplies                   12.     $
                                                                                                                            Com bined
                                                                                                                            m onthly income
 13.Do ou expectan increaseordecreasew ithinthe yearafteryou file this form ?
     # No
     Q Yes Expl
              ain:

  OfficialForm 1061                                        Schedule 1:YourIncome                                                Page2
                Case 6:19-bk-10064-SY                        Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                  Desc
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                   *    . @    @ :œ        @       . *

    D              ROSA ROBLES
     ebtor1        FlrstName                    Mlddl
                                                    e Name                LastName                        Checkifthis is:
    Debtor2                                                                                                   An amended filing
    (Spouse,iffiling) FlrstName              MrddleName                   LastName
    United States Bankruptcy Courtforthe: CentralDistrictofCalifornia
                                                                                                          F7
                                                                                                          ; Asupplementshowingpostpetiti
                                                                                                                                       onchapter13
                                                                                                              expenses as ofthe following date:
                                                                                     (state)
    Case number                                                                                               MM / DD /YYYY
    (Ifknownj

OfficialForm 106J
Schedule J:Y our Expenses                                                                                                                                  12/1s
Beascomplete and accurate as possibl e.Iftwo married people are filing together,both areequally responsible forsupplying correct
information.Ifmore space is needed,attachanothersheetto thisform.Onthe top ofany additionalpages,writeyourname and case num ber
(ifknown).Answereveryquestion.
 '
     .             Describe YourHousehold

1.Isthisajointcase?
        : No. Goto Iine 2.
     D Yes.DoesDebtor2Iiveinaseparatehousehol
                                            d?
                   No
                 I Yes.Debtor2mustfil
                                    e Offi
                                         cialForm 106J-2,ExpensesforSeparate Househol
                                                                                    d ofDebtor2.
2. Do you havedependents?                      V No                                               ,
                                                                                         Dependents relationship to
                                                                                                                                       ,
                                                                                                                              Dependents       DoesdependentIive
        DonotIi
              stDebtor1and                     Q Yes.Fi
                                                      lloutthisinformationfor Debtor1orDebtor2                                age              with you?
        Debtor2.                                  eachdependent..........................                             '       '
                                                                                                                              *
                                                                                                                              '.
                                                                                                                               '
                                                                                                                               ,
                                                                                                                               '*'
                                                                                                                                 *
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                                                                                                                                         ,
                                                                                                                                         '*
                                                                                                                                          '*''
                                                                                                                                             -*
                                                                                                                                              ''
                                                                                                                                               *' l No
        Do notstatethe dependents'                                                                                                             N ves
        names.
                                                                                                                                               n xo
                                                                                                                                               N ves
                                                                                                                                               N so
                                                                                                                                               Nl Yes
                                                                                                                                               n so
                                                                                                                                               n ves
                                                                                                                                               r:-1so
                                                                                                                                               n ves
3.Doyourexpensesinclude                        rëe
                                                 rlxo
        expensesofpeopleotherthan              D Yes
        yourselfand yourdependents?
'
    .     Kstim ate Yourongoing Monthly Expenses
Estimateyourexpensesas ofyourbankruptcyfiling date unlessyou are using this form as a supplementina Chapter13 case to report
expenses as ofadate afterthe bankruptcy isfiled.l
                                                fthis is a supplem entalSchedule J,check the box atthe top ofthe form and fillinthe
applicable date.
Include expenses paid forwith non-cash governmentassi
                                                    stance ifyou know thevalueof
                                                                                                                                  Yourexpenses
suchassistanceandhaveIncludeditonSchedule1:YourIncome(OfficialForm 1061.
                                                                       )
 4.The rentalorhome ownership expensesforyourresidence.lncludefirstmortgage payments and                                          $             2,801.00
   anyrentforthe grotlnd orlot.
         lfnotincluded in line4:                                                                                                                     0.00
         4a. Realestate taxes                                                                                                     $
                                                                                                                                  $                  0.00
             Propedy,hom eowner's,orrenter'sinsurance
                                                                                                                                  $                  0.00
              Homemai
                    ntenance,repai
                                 r,and upkeepexpenses
              Homeowner'sassociati
                                 onorcondomini
                                             um dues                                                                              $                  0.00

     OfficialForm 106J                                            ScheduleJ:YourExpenses                                                                 page 1
          Case 6:19-bk-10064-SY               Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10            Desc
                                              Main Document    Page 35 of 63
               ROSA ROBLES
Debtor1
            FlrstName      MlddleName    LastName


                                                                                               Yourexpenses

                                                                                               $              837.14
5.Additionalmortgage payments foryourresidence,such as home equi
                                                               tyIoans

6. Utili
       ties:
   6a. Electrici
               ty,heat,naturalgas                                                         6a. $               155.00
   6b. W ater,sewer,garbagecollecti
                                  on                                                      6b. $                85.00
   6c. Telephone,cellphone,lnternet,satelli
                                          te,and cabl
                                                    e services                                $                36.00
   6d. Other.Specify:                                                                     6d. $                 0.00
7. Food and housekeeping supplies                                                             $               200.00
8. Childcare and children'seducation costs                                                8.   $                0.00
9. Clothing,laundry,and drycleaning                                                       9.   $               60.00
10. Personalcareproducts and services                                                          $               30.00
11. Medicaland dentalexpenses                                                                  $                0.00
12. Transportation.lncludegas,maintenance,bus ortrainfare.                                     $               55.00
    Do notinclude carpayments.
    Entertainment,clubs,recreation,newspapers,magazines,and books                              $                0.00
    Charltable contributionsand religiousdonations                                             $                0.00

    Insurance.
    Do notincl
             ude insurance dedudted from yourpayorincl
                                                     udedin li
                                                             nes4 or20.
    15a.Life insurance
                                                                                           15a. $               0.00
    15b.Health insurance
                                                                                                $               0.00
    15c.Vehicleinsurance                                                                        $               0.00
    15d.Otherinsurance.Speci
                           fy:                                                             15d. $               0.00

16. Taxes.Do notincludetaxesdeductedfrom yourpay orincluded in I
                                                               ines4 or20.
                                                                                               $                0.00
    Specify:

    InstallmentorI
                 ease payments:
    17a.Carpaym entsforVehicl
                            e1
                                                                                               $                 0.00
    17b.CarpaymentsfOrVehicle2                                                                 $                 0.00
    17c.Other.Specify:
                                                                                               $                 0.00
                                                                                               $                 0.00
    17d.Other.Specify:
    Yourpayments ofalimony,maintenance,and supportthatyou did notreportasdeducted from
    yourpayonIine5,Schedule1,YourIncome(OfficialForm 1061).                                    $                 0.00

49. Otherpayments you maketo suppod otherswho do notIive with you.
                                                                                               $                 0.00
    Speci
        fy:
20. Otherrealpropertyexpenses notincluded in lines4 or5ofthisform oron Schedult1:Yourlncome.
    20a.Mortgagesonotherproperty                                                           20a. $                0.00
    20b.Realestate taxes                                                                   20b. $                0.00
    20c. Property,homeowner's,orrenter'
                                      sinsurance
                                                                                                $                0.00
    20d.Maintenance,repair,and upkeepexpenses
                                                                                                $                0.00
    20e.Homeowner' s associ
                          ationorcondominium dues                                               $                0.00

   OfficialForm 106J                                 ScheduleJ:YourExpenses                                       Rage 2
           Case 6:19-bk-10064-SY              Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10             Desc
                                              Main Document    Page 36 of 63
             ROSA ROBLES
Debtor1     FlrstName   Mp
                         ddleName      LastName



21. Other.Speci
              fy:                                                                                   +$        0.00
                                                                                                    +$
                                                                                                    +$

    Calculateyourm onthlyexpenses.
                                                                                                    $    4,259.14 L
   22a.Add Iines4through 21.                                                                                      )
                                                                                                                  2
   22b.Copyline22(monthlyexpensesforDebtor2),ifany,from Offi
                                                           cialForm 1062-222c.Addli
                                                                                  ne22a             $             i
                                                                                                                  (
                                                                                             22c.   $    4,259.14 '
                                                                                                                  j
   and 22b.The resultisyourmonthl
                                y ezpenses.


23.Calculateyourmonthly netincome.                                                                   $    3,921.00
  23a. Copyli
            ne 12(yourcombinedmonthlyi
                                     ncomejfrom Schedule1.                                   23a.

  23b. Copyyourmonthlyexpensesfrom Iine 22cabove.                                            23b. - $    4,259.14

  23c. Subtractyourmonthlyexpensesfrom yourmonthlyincome.                                            $    -338.14
       The resul
               tisyourmonthly netincome.                                                     23c.


24.Do youexpectan increase ordecrease in yourexpensos within theyearafteryou filethisform?
   Forexample,do youexpectto fini
                                sh payingforyourcarI
                                                   oanwi thin the yearordoyouexpectyour
   mortgage paymentto i
                      ncrease ordecrease becauseofa modifi
                                                         cationtothe termsofyourmortgage?

  re
   '-lNo
   D Yes, Expl
             ai
              nhere:




   Offi
      cialForm 106J                               Sehedule J;YourExpenses                                       Rage 3
                Case 6:19-bk-10064-SY                 Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                 Desc
                                                      Main Document    Page 37 of 63
                 *    . @     * #*   @      * *


Debtor1         RO SA ROBLES
                 FlrstName               MiddleName          LastName
Debtor2
(Spouse,iffiling) FlrstName              MiddleName          LastName
Unit
   edStatesBankruptcyCourtforthecentralDistri
                                            ctOfCali
                                                   fornia
Case number
(Ifknown)                                                                                                                        F-
                                                                                                                                  '
                                                                                                                                  1 ch
                                                                                                                                      eck ifthis is an
                                                                                                                                    am ended filing


  O fficialForm 106Dec
  Dec Iaration A bout a n Individua I De btor's Sched ules                                                                                    l2/ls
  lftwo married peopleare 5ling together,bothare equall
                                                      y responsibleforsupplying correctinformation.
  You mustfilethisform wheneveryou file bankruptcyschedules oramended schedules.Making afalse statement,concealing property,or
  obtaining m oneyorproperty byfraud in connecti
                                               onwith abankruptcycase can resultinfines upto $250,000,orimprisonmentforup to 20
  years,orboth.18U.S.C.jj152,1341,1519,and3571.


                  Sign Below


       Did you payoragree to paysomeonewho is NOT an attorney to help you filloutbankruptcyforms?
       Z lNo
       D Yes.Nameofperson                                                             .AttachBankrupt
                                                                                                    cyPeti
                                                                                                         tionPreparer'
                                                                                                                     sNoti
                                                                                                                         ce,Declaration,and
                                                                                       Si
                                                                                        gnature(OiicialForm 119).




       Underpenal
                tyofperjury,IdeclarethatIhavereadthesummaryandschedulesfiledwiththisdeclarationand
       thatthey are trueand correct.



    x                                                       x
                              #
         Signature ofDebtor1                                    Signature ofDebtor2

        Dat
          e11/13/2018y//za /J'
               MM / DD / YYYY '
                                                                Date
                                                                        MM / DD / hrb'h''bt




  Offi
     cialForm 106Dec                                   DeclarationAboutan lndividualDebtor's Schedules
             Case 6:19-bk-10064-SY                         Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                      Desc
                                                           Main Document    Page 38 of 63
                    @    . @       @ @*   *     e *


 Debtor1         ROSA ROBLES
                    FirstName                 MlddleName                LastName
 Debtor2
 (Spouse,iffiling) FlrstName                  MiddleName                LastName
 United StatesBankruptcyCoud forthe:centralDistrictofCalifornia

 Case number
 (1fknownj                                                                                                                   I-
                                                                                                                              R checkifthisisan
                                                                                                                               amended filing



OfficialForm 107
Statem ent of FinancialA ffairs for Individua Is Filing for B ankruptcy                                                                    4/16
Be as com plete and accurate as possible.Iftwo married peoplearefiling together,bothareequall
                                                                                            y responsible forsupplying correct
inform ation. Ifmore space isneeded,attacha separatesheetto thisform .Onthetop ofany additionalpages,w riteyournameand case
number(i
       fknown).Answereveryquestion.

 *.            Give Details AboutYourMaritalStatus and W here You Lived Before

 1.W hatis yourcurrentm aritalstatus?

      D Marri
            ed
      IZ Notmarried

 2. During the I
               ast3years,have you Iivedanywhere otherthanwhere you Iive now?
      re
       -; No
      D Yes.Li
             staIIoftheplacesyouI
                                ivedinthelast3years.Donotincl
                                                            udewhereyouIi
                                                                        venow.
             Debtor1:                                           Dates Debtor1 Debtor2:                                           DatesDebtor2
                                                                Iived there                                                      Iivedthere

                                                                                   X sameasDebtor1                              I
                                                                                                                                V IsameasDebtor1
                                                               F                                                                   From
                                                                  rom
             Number             Street                                                Number Street
                                                               To



             City                         state ZlP Code                              City               State ZIP Code

                                                                                   IS SameasDebtor1                             I
                                                                                                                                --R SameasDebtor1
                                                                                                                                   From
             Number             Street                                                Number Street




             City                         State ZlP Code                              City                State   ZlP Code

 3.WithintheIast8years,didyoueverIivewi    thaspouseorIegalequivalentinacommunitypropertystateorterritory?(Communit
                                                                                                                  ypropert
                                                                                                                         ystates
   andterri
          toriesincludeArizona,Californi
                                       a,I
                                         daho,Louisi
                                                   ana,Nevada,New Mexi
                                                                     co,PuertoRico,Texas,Washington,andWisconsi
                                                                                                              n.)
      r-l
       e No
       D Yes.Makesureyoufi
                         lloutSchedul
                                    eH:YourCodebt
                                                ors(Offici
                                                         alForm 106H).



 OfficialForm 107                              StatementofFinancialAffairs forIndi
                                                                                 viduals Filing forBankruptcy                         Page 1
              Case 6:19-bk-10064-SY                 Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                 Desc
                                                    Main Document    Page 39 of 63
Debtor1          ROSA ROBLES
                FlrstName     Mlddle Name      LastName
 *
     -         Explain the Sources ofYourIncome

 4. Didyou haveanyincomefrom employmentorfrom operating abusiness during thisyearorthe two previous calendaryears?
         Fillinthetotalamountofincomeyourecei
                                            vedfrom aIljobsandalIbusi
                                                                    nesses,includingpart-timeacti
                                                                                                vities.
         Ifyouarefilingajointcaseandyouhaveincomethatyoureceivetogether,I
                                                                        isti
                                                                           tonlyonceunderDebtor1.
         Z No
         D Yes.Fillinthedetaijs.
                                                      Debtor:1           :                              Debtor2                : '
                                                      Sources ofincome           Gross income           Sources ofincome       Gross income
                                                      CheckaI
                                                            Ithatapply.          (beforedeductionsand   Checkallthatappl
                                                                                                                       y.      (beforededucti
                                                                                                                                            onsand
                                                                                 exclusions)                                   exclusi
                                                                                                                                     ons)

             From January1 ofcurrentyearuntil
                                                      Z Wages,commi
                                                                  ssions,                               Z Wages,commi
                                                                                                                    ssions,
                                                          bonuses,ti
                                                                   ps            $                         bonuses,ti
                                                                                                                    ps
             the date you filed forbankruptcy:
                                                      Q Operatingabusi
                                                                     ness                               Z Operatingabusiness

             ForIastcalendaryear:
                                                      Q wages,commi
                                                                  ssi
                                                                    ons,                                D wages,commi
                                                                                                                    ssions,
                                                          bonuses,tips           $                         bonuses,tips        $
             (January1toDecember31,               ) D operatingabusi
                                                                   ness                                 D operati
                                                                                                                ngabusi
                                                                                                                      ness

             Forthe calendaryearbefore that:          Z bWages,commissi
                                                                      ons,                              D wages,commi
                                                                                                                    ssi
                                                                                                                      ons,
                                                           onuses,tips           $                          bonuses,ti
                                                                                                                     ps        $
             (January1toDecember31,YYYY           ) Z operati
                                                            ngabusiness                                 L operati
                                                                                                                ngabusiness

 5. Did youreceiveany otherincome duringthis yearorthe two previous calendaryears?
    lncl
       ude i
           ncomeregardlessofwhetherthati ncome istaxable.Exampl  esofotherincomeareali m ony'
                                                                                            ,chil
                                                                                                d support;SocialSecurity,unemployment,
    andotherpublic benefitpayments'
                                  ,pensi
                                       ons'
                                          ,rentali
                                                 ncome',interest'
                                                                ,dividends'
                                                                          ,moneycollectedfrom I
                                                                                              awsuits'
                                                                                                     ,royalties'
                                                                                                               ,and gambling and I
                                                                                                                                 ottery
         winni
             ngs.I
                 fyouarefilingajointcaseandyouhaveincomethatyourecei
                                                                   vedtogether,li
                                                                                sti
                                                                                  tonl
                                                                                     yonceunderDebtor1.
         Li
          steachsource and thegross incomefrom eachsourceseparately.Do notinclude incom ethatyou I
                                                                                                 istedin Ii
                                                                                                          ne4.

         D No
         R ves. Fillinthe details.
                                            Debtor4                                                      EDebtor'z

                                            Sources ofincome             Gross income from               Sources ofincome      Gross incomefrom
                                                                         each source                     Describe below.       eoCb Source
                                            Describe below.
                                                                         (beforedeductionsand                                  (beforededucti
                                                                                                                                            onsand
                                                                         exclusi
                                                                               ons)                                            exclusions)

                                       SOCI
                                          AL SECURI
                                                  TY        $8,28:.00                                                          $
 From January1 ofcurrent
 ïearuntilthedateyou                   ROOMMATECONTRIBUTION $27,000.00                                                         $
flled forbankruptcy:
                                                            $                                                                  $

                                       SOCI
                                          ALSECURITY         $11,052.00                                                        $
Forlastcalendaryear:
                                       ROOMMATE CONTRIBUTION $36,000.00                                                        $
(January1to
Decem ber31, 2017                                            $                                                                 $
                             )

Forthe calendaryear                    SOCIALSECURITY       $11,052.00
beforethat:                            ROOMMATE CONTRIBUTI
                                                         ON $36,000.00
(January1to                                                 $                                                                  $
December31, 2016             )


OfficialForm 1O7                            Statem entofFinancialAffairsforIndividuals FilingforBankruptcy                                Pa9e 2
           Case 6:19-bk-10064-SY                       Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                      Desc
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Debtor1      ROSA ROBLES
             FlrstName       MiddleName           LastName


 *-         Lisl Cerlaln Paym ents You M ade Before You Filed for Bankruptcy


 6. Are eitherDebtor1'sorDebtor2's debts prim arilyconsum erdebts?

      D No. NeitherDebtor1norDebtor2hasprimaril
                                              yconsumerdebts.Consumerdebt
                                                                        saredefi
                                                                               nedin11U.S.
                                                                                         C.j101(8)as
             ''incurred byan individualprimarilyfora personal,fam il
                                                                   y,orhousehol
                                                                              d purpose.'
             Duringthe 90 days before youfiledforbankruptcy,didyou payanycreditoratotalof$6,
                                                                                           425*ormore?
             f-lNo. Gotoline 7.
             X Yes.Listbelow eachcredi
                                     tortowhom youpai
                                                    datotalof$6,425*ormoreinoneormorepaymentsand
                 the totalamountyou paidthatcreditor.Do notinclude paym entsfordomesticsupportobl
                                                                                                igations,suchas
                     child supportand alimony.Also,do notincludepaymentstoanattorneyforthisbankruptcycase.
             *Subjecttoadjustmenton4/01/19andevery3yearsafterthatforcasesfi
                                                                          ledonorafterthedateofadjustment.
      re
       -lYes. Debtor1orDebtor2orboth have primarily consum erdebts.
             Duringthe9odaysbeforeyoufil
                                       edforbankruptcy,didyoupayanycreditoratotalof$600ormore?
             I-
              z
              - No.GotoIine7.
             D Yes.Listbel
                         ow eachcreditortowhom youpaidatotalof$600ormoreandthetotalamountyoupai
                                                                                              dthat
                         creditor.Do notinclude paymentsfordomesticsupportobligations,suchaschild supportand
                         alimony.Also,do notinclude paymentsto anattorneyforthis bankruptcycase.

                                                                 Dates of   Totalamountpaid        Amountyou stillowe   W as this paymentfor...
                                                                 paym ent

                                                                             $                   $                      f--nuort
                                                                                                                               gage
                   Credit
                        or'
                          sName                                                                                         ID car
                                                                                                                        1---1credi
                                                                                                                                 tcard
                   Number street
                                                                                                                        Q Loanrepayment
                                                                                                                        l-1suppli
                                                                                                                                ersorvendors
                                                                                                                        I
                                                                                                                        ZIother
                    city                  state       zlpcode


                                                                             $                    $                     (:gvoxgage
                    credi
                        tor'
                           sName                                                                                        Q car
                    xumser street
                                                                                                                        & creditcard
                                                                                                                        I
                                                                                                                        ---ILoanrepayment
                                                                                                                        !-Isuppliersorvendol
                                                                                                                                           .
                                                                                                                                           s
                                                                                                                        r--lother
                    city                  state       zIpcode



                                                                             $                    $                     rn uoxgage
                                                                                                                        I'-Icar
                                                                                                                         r-lcredi
                                                                                                                                tcard
                    Number street
                                                                                                                         I
                                                                                                                         -ILoanrepayment
                                                                                                                        Q suppl
                                                                                                                              iersorvendor
                                                                                                                                         s
                                                                                                                        Q other
                    City                  state       ZIP Code




Offici
     alForm 1O7                               StatementofFinancialAffairs forIndividuals FilingforBankruptcy                       page 3
          Case 6:19-bk-10064-SY                    Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                         Desc
                                                   Main Document    Page 41 of 63
Debtor1          ROSA ROBLES
             FlrstName    MlddleName           LastName



 7. W ithin 1 yearbeforeyou filed forbankruptcy,did you m akea paymenton adebtyou owed anyone who was an insider?
    Insidersinclude yourrelatives'
                                 ,anygeneralpartners;rel
                                                       ativesofanygeneralpartners;partnershipsofwhi
                                                                                                  ch you area generalpartner'
                                                                                                                            ,
    corporationsofwhichyou areanofficer,director,person incontrol,orownerof20% ormoreoftheirvotingsecuri ties'
                                                                                                             ,and anymanaging
    agent,includi
                ngoneforabusinessyouoperateasasoleproprietor.11U.S.C.j101.Incl
                                                                             udepaymentsfordomesticsupportobl
                                                                                                            igations,
    suchaschildsupportandali
                           m ony.
    De No
    Q Yes.ListaI
               Ipaymentstoaninsider.
                                                            Dates of    Totalamount    Amount#ou still Reason forthis payment
                                                            payment     paid           owe

                                                                       $              $
          lnsider'sName


          Number Street




          City                         State   ZIP Code

                                                                       $              $
          lnsider'sName

          Number Street




          City                         State   ZIPCode

 8.W ithi
        n 1 yearbeforeyou filed forbankruptcy,did you m akeanypaym ents ortransferanyproperty on accountofadebtthatbenefited
   an insider?
   Include paymentsondebtsguaranteedorcosigned byaninsi   der.
    re
     -; No
    D Yes.uistaIIpaymentsthatbenefi
                                  tedaninsider.
                                                           Datesof      Totalamount    Amountyou still Reasonforthis payment
                                                           Payment      paid           owe             Include creditor,s name

                                                                       $               $
          lnsider'sName


          Number Street




          City                         State   ZIIDCode



          lnsider'sName


          Number Street




          City                         State   ZlPCode


OfficialForm 107                          StatementofFinancialAffairsforIndividuals FilingforBankruptcy                          Page4
           Case 6:19-bk-10064-SY                         Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                         Desc
                                                         Main Document    Page 42 of 63
Debt
   or1       ROSA ROBLES
             llrstName            Mid
                                    vieName         LastName


  *-    : Identify LegalActions,Repossessions,and Foreclosures
 9. W ithin 1yearbeforeyoufiledforbankruptcy,w ere you a party in anyIawsuit,coud action,oradm inistrative proceeding?
    Li
     staIlsuchmatters,includingpersonali
                                       njurycases,smallclaimsactions,divorces,collecti
                                                                                     onsui
                                                                                         ts,paternityactions,supportorcustodymodificati
                                                                                                                                      ons,
    andcontractdisputes.
    I
    '
    e
    -lso
    Q Yes.Filli
              nthedetail
                       s.
                                                          Nature ofthe case                 GourtoragenGy                       status ofthe case

   Case title:                                                                                                                  I--Ieending
                                                                                           courtName
                                                                                                                                r-lonappeal
                                                                                           Number street                        Z concluded
                                                                                           City             State   ZIPCode
   Case number

                                                                                           courtuame                 -          z pending
   Casetitle:                                                                                                                   I
                                                                                                                                ---
                                                                                                                                  Ionappeal
                                                                                           Number street                        Z concluded

                                                                                           city             state   ZIP Code
   Case number
 10.W i
      thin 1yearbefore youfiled forbankruptcy,wasanyofyourpropertyrepossessed,foreclosed,garnished,attached,seized,orIevied?
    Checkal1thatapplyand fillin the detailsbelow.
       I-
        e-lNo. Gotoline 11.
        Q Yes.Filintheinformationbel
                                   ow.
                                                                    Describethe property                             Date      Value ofthe property


                                                                                                                               $
                 Creditor'sName


                 Number street                                      Explain whathappened

                                                                    Z propertywasrepossessed.
                                                                    EI propert
                                                                             ywasforecl
                                                                                      osed.
                                                                    D propertywasgarnished.
                 City                         State ZlPCode         L propertywasattached,sei
                                                                                            zed,orIevied.
                                                                    Describetheproperty                              Date       Valueofthepropem


                                                                                                                                $
                 Creditor'sName


                 Number Street                                      Explain whathappened

                                                                    I-I proper
                                                                             '
                                                                             tywasrepossessed.
                                                                    Z propertywasforecl
                                                                                      osed.
                                                                    El propedywasgarnished.
                 ci
                  t
                  y                           st
                                               ate zlpcoue          r--
                                                                      l Propert
                                                                              ywasattached, seized,orIevied.


OfficialForm 1O7                                StatementofFinanci
                                                                 alAfairsforlndividuals Filing forBankruptcy                            Pa9e5
               Case 6:19-bk-10064-SY                        Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                              Desc
                                                            Main Document    Page 43 of 63
Debtor1             ROSA ROBLES
                    FlrstName    Mi
                                  ddleName             LastName



    11.W ithin 90 days before youfiled forbankruptcy,did anycreditor,including a bank orfinanci
                                                                                              alinstitution,setoffanyam ountsfrom your
       accountsorrefuseto makea paymentbecause youow ed a debt?
      re
       -lNo
          Q Yes.Fillinthedetail
                              s.
                                                              Describe the action thecreditortook                 Date action       Amount
                                                                                                                  was taken
            Creditor'sName

                                                                                                                                    $
            Number Street




            Ci
             ty                         State ZI
                                               PCode         Last4 di
                                                                    gits ofaccountnumber:XXXX-

    12.W ithin 1yearbefore youfil
                                ed forbankruptcy,wasany ofyourpropertyin the possession ofan assignee forthe benefitof
       creditors,a coud-appointed receiver,acustodian,oranotherofficial?
          L.'so
          Q Yes
:
    * -             ListCertain Glfts and Contributions
:

    13.Within2yearsbeforeyoufil
                              edforbankruptcy,didyougiveanygi
                                                            ftswithatotalvalueofmorethan$600perporson?
       r.
        -:
         -JNo                '
          D Yes.Fillinthedetailsforeachgi
                                        ft.
              Giftswithatotalvalueofmorethan$600              Describethegifts                                    Datesyougave              Value
              perperson                                                                                           thegiqs


                                                                                                                                        $
             PersontoWhom YouGavethe Gift

                                                                                                                                        $

             Number Street


             City                           State ZlPCode

             Person's relationshipto you

             Giftswi
                   thatotalvalueofmorethan$600                Describethegifts                                     Dates you gave        Value
             perperson                                                                                             the gifts


             Person toWhom YouGavetheGift

                                                                                                                                         $


             Number Street


             city                           state ZIPCode

             Person's relationship to you

OfficialForm 1O7                                   StatementofFinanci
                                                                    alAfairsforIndividuals Filing forBankruptcy                                  page6
               Case 6:19-bk-10064-SY                    Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                     Desc
                                                        Main Document    Page 44 of 63
Debtor1            ROSA ROBLES
                   FùrstName     MiddleName        LastName




    l4.W ithin2 years before you fil
                                   ed forbankruptcy,didyougive any giftsorcontributi
                                                                                   onswith atotalvalue ofmore than $690to any charity?
      Xe No
      D Yes.Fillinthedetai
                         lsforeachgiftorcontributi
                                                 on.
             Gi
              ftsorcontributionstochari
                                      ti
                                       es                Describewhat#oucontributed                                      Dateyou           Value
             thattotalmorethan$600                                                                                       contrl
                                                                                                                              buted


                                                                                                                                           $
            Charfty'sName

                                                                                                                                           $


            Number Street


            City         State     Z1P Code


i
( *. @               List Certain Losses

    15.W ithin 1yearbeforeyou filed forbankruptcyorsinceyou filedforbankruptcy,did you Ioseanything becauseoftheftfire,otherdisaster,
          orgambling?
          e' No
          D Yes.Fillinthedetails.
              Describe the propertyyou lostand how        Describeany insurancecoverageforthe Ioss                       Date ofyourIoss   Valueofpropedy
              the Ioss occurred                                                                                                            lost
                                                          lncludethe amountthatinsurancehas paid.Listpending insurance
                                                          claimson line 33 ofSchedule4/8.'Property.

                                                                                                                                            $


    * .            ListCertain Paym ents orTransfers
S! 16. within 1yearbeforeyoufiled forbankruptcy,didyou oranm ne elseacting on yourbehalfpay ortransferanypropertyto anyoneyou
          consulted aboutseeking bankruptcy orpreparing a bankruptcypetition?
          Include anyatt
                       orneys,bankruptcypeti
                                           ti
                                            on preparers,orcreditcounseling agenciesfcrservices requi
                                                                                                    red in yourbankruptcy.

          D No
       I-elves.Filinthedetai
                           ls.
                                                              Description and value ofany propertytransferred            Date paymentor Amountofpayment
                                                                                                                         transferwas made
              MARIO RIVAS
              PersonW hoW asPaid                          flatfee $ 1,
                                                                     000
              3800ORANGE STREET SUI
                                  TE,15O                                                                                 04/05/2018         $ 1,000.00
              Number Street

                                                                                                                                            $-
              Riverside                CA      92501
              city                    State   Z1PCode

               l
               awofice38ooNmmai
                              l.com
              Emailorwebsiteaddress

              PersonWho Madethe Payment.ifNotYou

OfficialForm 107                                statementofFinanci
                                                                 alAfairsforIndividualsFiling forBankruptcy                                        Pa9e 7
           Case 6:19-bk-10064-SY                       Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                Desc
                                                       Main Document    Page 45 of 63
Debtor1          ROSA ROBLES
                 FlrstName   Mlddle Name          LastName



                                                        Description andvalue ofany propertytransferred            Date paymentor       Amountof
                                                                                                                  transferwas made     payment

          PersonW hoW asPaid
                                                                                                                                       $
          Number Street
                                                                                                                                       $


          City                    State    ZlP Code


          Emailorwebsiteaddress

          PersonW hoMadethePayment,ifNotYou

 17.W ithin 1yearbeforeyou filed forbankruptcy,did you oranyoneelse acting on yourbehalfpay ortransferany propertyto anyone who
    promised to help you dealwith yourcredi tors orto make paymentsto yourcreditors?
    Donoti  nclude any paymentortransferthatyou Ii
                                                 stedon Iine 16.

    re
     --lNo
     D Yes.Filli
               nthedetai
                       ls.
                                                         Description and valueofanypropertytransferred             Date paymentor Amountofpayment
                                                                                                                   transferwas made

          PersonW hoW asPaid
                                                                                                                                       $
          Number Street
                                                                                                                                       $

          City                    State    ZlPCode
 18.W ithin2 yearsbefore youfiledforbankruptcy,didyou sell,trade,orotherwise transferanypropedyto anyone,otherthanproperty
    transferred in the ordinarycourse ofyourbusiness orfinancialaffairs?
    fncludebothoutri
                   ghttransfersandtransfersmadeassecuri
                                                      ty(suchasthegrantingofasecuri
                                                                                  tyi
                                                                                    nterestormodgageonyourpropedy).
    Do notincludegiftsand transfersthatyou have alreadyli
                                                        stedonthisstatem ent.
    r-l
     e No
    D yes.Filinthedetail
                       s.
                                                         Description and value ofpropedy       Describeanypropertyorpaymentsreceived       Datetransfer
                                                         transferred                           ordebts paid inexchange                     was made
          PersonW ho ReceivedTransfer

          Number Street



          city                    State    ZlP Code

          Person's relationship to you

          PersonW hoReceivedTransfer

          Number Street



          City                    State    ZIPCode
          Person's relationshipto you
OfficialForm 107                              statementofFinanci
                                                               alAffairs forlndividualsFiling forBankruptcy                                   page8
                Case 6:19-bk-10064-SY                      Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                       Desc
                                                           Main Document    Page 46 of 63
Debtor1            ROSA ROBLES
                   FlrstName      Middle Name         LastName




 19.W ithin 10years before youfil
                                edforbankruptcy,did youtransferany propertyto a self-settledtrustorsimilardevice ofwhichyou
       areabeneficiary?(Theseareoftencalledasset-protect
                                                       iondevices.)
       re
        -l xo
           Q Yes.Fillinthedetai
                              ls.
                                                            Description and valueofthe property transferred                                          Date transfer
                                                                                                                                                     was made


              Name oftrust




     * .     : Lisl Certain FinancialAccounts,Instrum ents,Safe Deposit Boxes,and Slorage U nits
L20.W i
      thin 1yearbefore youfiledforbankruptcy,were anyfinancialaccountsorinstrumentsheldinyourname,orforyourbenefit,
i
::         cIosed,sold,moved,ortransferred?
           Include checking,savings,money market,orotherfinancialaccounts;certificates ofdeposit;shares in banks,creditunions,
           brokerage houses,pensionfunds,cooperatives,associations,and otherfinancialinstitutions.
           e No
           D Yes.Fillinthedetails.
                                                             Last4 digie ofaccountnumber       Type ofaccountor            Date accountwas       Lastbalance before
                                                                                                instrument                 closed,sold,moved,    closing ortransfer
                                                                                                                           ortransferred

               Nam eofFinanciallnstitution                                                     I-Rchecking                                       $
               Number Street
                                                                                               F-lsavings
                                                                                               U-lMoneymarket
                                                                                               rRBrokerage
               City                    State    ZIPCode                                        N otuer
                                                                 m X.                           I
                                                                                                -lchecking                                       $
               NameofFinanciallnstitution
                                                                                                I-
                                                                                                 /savings
               Number Street
                                                                                                I'
                                                                                                 R Moneymarket
                                                                                                F-lBrokerage
                                                                                                I-lother
               City                     State   ZIPCode
     21.Do you now have,ordid you havewithin 1yearbefore youfil
                                                              ed forbankruptcy,anysafedeposi
                                                                                           tbox orotherdeposi
                                                                                                            toryfor
        securities,cash,orothervaluables?
           re
            -lNo
           Q Yes.Fillinthedetai
                              ls.
                                                                 W ho else had accessto it?                   Describe the contents                       Do you still
                                                                                                                                                          have it?
                                                                                                                                                              No
                                                                                                                                                              Yes
               Nam eofFinancialInstitution                   Mam e


               Number Street                                 Number street

                                                             City         State      ZIPGode
               City                     State   ZIPCode

 OfficialForm 1O7                                 StatementofFinancialAffairs forIndividuals Filing forBankruptcy                                        gage9
                   Case 6:19-bk-10064-SY                       Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                              Desc
                                                               Main Document    Page 47 of 63
Debtor1               ROSA RO BLES
                      FprstName   MpddleName              LastName


22.Have you stored property in astorage unitorplaceotherthan yourhomewi
                                                                      thin 1yearbeforeyou filedforbankruptcy?
        re
         -lso
         Q Yes.Fillinthedetails.
                                                                w ho else has orhad accessto it?                  Describe the contents           Do you still
                                                                                                                                                  have it2

                                                                                                                                                  r-lso
                  NameofStorageFaci
                                  li
                                   ty                           Name                                                                              r lyes
                  Number street                                 Number Street

                                                                Citystate ZIP Code

                  City                  State   ZlPCode

    e
        .     .          Identify Property You Hold orControlforSomeone Else
 23.Do you hold orcontrolanypropertythatsomeone else owns? Include anypropertyyou borrowed from,arestoringfor,
    orhold intrustforsomeone.
            I-e-lNo
            X Yes.Fillinthedetails.
                                                                w here is the property?                            Describe the property     value


                  Owner's Name                                                                                                               $
                                                               Number Street
                  Number Street


                                                               City                        State      ZlP Code
                  Clty                  State   ZIPCode

I p.              I      Give Details About Environm entaIInform ation
i
    Forthe purpose ofPart10,thefollowing definitions apply:
    vi Environmentallaw m eansanyfederal,state,orIocalstatuteorregulation concerning poll  ution,contam ination,releasesof
        hazardous ortoxicsubstances,wastes,ormaterialinto the air,Iand,soil,sudace water,groundw ater,orotherm edium ,
       including statutes orregulations controllingthe cleanup ofthese substances,wastes,ormaterial.
       Site means anyIocation,facility,orpropedyasdefined underanyenvironmentalIaw,whetheryou now own,operate:orutilize
       itorusedto ow n,operate,orutilizeit,including disposalsites.
    yè HalardousmaterialmeansanWhinganenvironmentalIaw definesasahazardouswaste,hazardoussubstance,toxic
            substance,hazardous material,pollutant,contaminant,orsimilarterm.
    ReportaIInotices releases,and proceedingsthatyou know about,resardless ofw hen theyoccurred.

    24.Hasany governm entalunitnotified youthatyou may be Iiableorpotentially Iiable underorinviolation ofan environm entalIaw?

            I-l
             e No
            Q Yes.Fillinthedetails.
                                                                Governmentalunit                          Environmentallaw,ifm u know it     Date ofnotice



               Nameofsite                                      Governmentalunit

               Number street                                    Number Street

                                                                City                 State ZIP Code


               City                  state      ZlPcode


OfficialForm 1O7                                   StatementofFinancialAffairsforIndividuals Filing forBankruptcy                                 page 10
             Case 6:19-bk-10064-SY                   Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                      Desc
                                                     Main Document    Page 48 of 63
Debtor1            ROSA ROBLES                                                                     Case number(ifknownj
                  FlrstName   MiddleName         LastName



 25.Haveyou notified anygovernmentalunitofany rel
                                                easeofhazardousmaterial?
        ra No
        Q Yes.Fillinthedetails.
                                                      Governmentalunit                         Environm entalIaw,ifyou know it               Date ofnotice


            Nameofsite                                Governm entalunlt

            Number Street                             Number Street


                                                      City                State ZIPCode

            City                  State    Z1PCode

 26.Haveyoubeenapartyinanyjudicialoradministrativeproceedingunderanyenvironmentallaw?lncludesettlementsandorders.
    rz
     -l No
        Q Yes.Fillinthedetails.
                                                        Courtoragençy                              Nature ofthe case                            Status ofthe
                                                                                                                                                case

          ()11t;fytitlth
                                                        coud Name
                                                                                                                                                L pending
                                                                                                                                                L onappeal
                                                        Num ber Street                                                                          r-lconcl
                                                                                                                                                       uded

           Case number
                                                        City                  State ZIP Code

  p .
                    Give Details AboutYour Business orConnections to Any Business
 27.w ithin4 years before youfiledforbankruptcy,didyouowna businessorhaveanyofthefollow ing connections to anybusiness?
        1
        -lA soleproprietororselfemployed inatrade,profession,orotheractivity,eitherfull-timeorpad-tim e
          r-lA memberofalimitedIiabilitycompany(LLC)orIimitedIiabilitypadnership(LLP)
          r-IA partnerinapadnership
          X Anofficer,director,ormanaging executive ofa corporation
          X AnownerofatIeast5% ofthevotingorequi     tysecuri
                                                            tiesofacorporation
    Xe No.Noneoftheaboveapplies.GotoPart12.
     Q Yes.CheckaIIthatapplyaboveandfillinthedetail
                                                  sbel
                                                     ow foreachbusiness.
                                                        Describethe nature ofthe business                        EmployerIdentification num ber
                                                                                                                 Do notinclude SocialSecurity numberorITIN.
            BusinessName
                                                                                                                 EIN:            -
            Number street
                                                                                                                 Dates businessexisted
                                                        Name ofaccountantorbookkeeper
                                                                                                                 From                      To
           City                   State    ZIPCode
                                                        Describethe nature ofthe business                        Employerldentification number
                                                                                                                 Do notinclude SocialSecuritynumberorITIN.
            BusinessNam e

                                                                                                                 E1N:            -
            Num ber Street
                                                                                                                 Dates businessexisted
                                                        Name ofaccountantorbookkeeper
                                                                                                                 From                       To
           City                   State    ZIPCode

OfficialForm 107                             StatementofFinancialAffairsforIndivi
                                                                                dualsFiling forBankruptcy                                         Page 11
           Case 6:19-bk-10064-SY                     Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                               Desc
                                                     Main Document    Page 49 of 63
Debtor1        ROSA ROBLES
               FlrstName      MlddleName         LastName



                                                        Describe the nature ofthe business          Em ployerldentification num ber
                                                                                                    Do notincludeSocialSecurity num berorITIN.
          BusinessName
                                                                                                     EIN:         -
          Number Street                                                                             Dates business existed


                                                        Nameofaccountantorbookkeeper                 From                    To
          City                    State    ZIPCode



E
: 28.W i
       thin2 years before youfiled forbankruptcy,did you gi
                                                          vea financialstatementto anyoneaboutyourbusiness? IncludeaIIfinancial
     institutions,creditors,orotherparties.
    r-lso
    F-IYes.Fillinthedetailsbelow.
                                                        Date issued



          Name                                          MM /no/yyyy


          Number Street




          City                    State    ZIPCode




                                                                                                                                                   .
  p.
                 Sign Below                                                                                                                        ,1
                                                                                                                                                    :
                                                                                                                                                   Ei

       IhavereadtheanswersonthisStatementofHnancialAffa/rsandanyattachments,andIdeclareunderpenaltyofperjurythatthe
       answ ers aretrue and correct.Iunderstand thatmaking afalsestatement,concealing property,orobtaining m oneyorproperty by fraud
       in connectionwith abankruptcycasecan resultin fines up to $250,000,ori
                                                                            m prisonmentforup to 20 years,orboth.
       18U.S.C.lj152,1341,1519,and3571.



          Signature ofDebtor1                                           SignatureofDebtor2


          Date11/13/2018 // 13 YX                                       Date
       Didyouattachadditionalpagesto YourStatementofFinancialAffa/rsforlndividualsFllingforBankruptcy(OficialForm 107)*
       re
        -; No
       D Yes

       Di
        d youpay oragree to paysomeone who is notan attorneyto help youfilloutbankruptcy form s?
       X.'No
       Q Yes.Nameofperson                                                                    .AttachtheBankruptcyPetitionPreparer'sNotice,
                                                                                               Declaration,ands/pnature(OfficialForm 119),



OfficialForm 107                            StatementofFinancialAffairs forIndi
                                                                              viduals Filing forBankruptcy                               Page 12
              Case 6:19-bk-10064-SY                     Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                     Desc
                                                        Main Document    Page 50 of 63
                *     ., #   @ @*      @     w *

D              ROSA ROBLES
 ebtor1
                FlrstName                  MlddleName             LastName
Debtor2
(Spouse,iffiling)FlrstName                 MlddleName             LastName
United States BankruptcyCourtforthe CentralDistrictofCalifornia
Case number                                                                                                                C1checki
                                                                                                                                  fthisisan
(Ifknown)                                                                                                                      am ended filing



 OfficialForm 108
 Sta te m e nt of Inte nt-
                         1o n fo r In d -
                                        1v -
                                           1d ua Is F -
                                                      1I-
                                                        1ng U n d e r C ha pte r 7                                                       l2/ls
 Ifyou are an individualfiling underchapter7,you m ustfilloutthisform if:
 K creditors have claim s secured by yourproperty,or
 K you have Ieased personalproperty and the Ieasehas notexpired.
 You mustfilethis form with thecourtwithin 30 days afteryoufile yourbankruptcypetitionorbythe datesetforthemeeting ofcreditors,
 whicheverisearlier,unlessthecourtextends the timeforcause.You mustalso send copi    esto the creditors and Iessors you Iistontheform .
 Iftwomarriedpeoplearefilingtogetherinajointcase,bothareequallyresponsibleforsupplying correctinformati
                                                                                                      on.
 80th debtorsm ustsign and date the form.
 Be as complete and accurateas possible.lfm ore space is needed,attach aseparatesheetto this form .On the topofany addi
                                                                                                                      tionalpages,
 writeyournameandcasenumber(ifknown).
    *.
                    List YourCreditors W ho Have Secured Claim s

         ForanycreditorsthatyouIistedinPart1ofScheduleD:Credltors WhoHaveClaimsSecuredbyProperty(OfficialForm 106D),fillinthe
         inform ation below .

          Identifythecreditorandthe propedythatiscollateral                   W hatdoyou intendtodowi
                                                                                                    th thepropeo that   Di
                                                                                                                         d you claim theproperty
                                                                              securesadebt?                             asexempton ScheduleC?

         Creditor's SLS                                                      X Surrendertheproperty.
         nam e:
                                                                             Z Retain thepropedyandredeem it.
         Descripti
                 onof 11226 ARIZONA AVE                                      r---lRetai
                                                                                      n thepropedy andenterinto a
         propedy
         securi
              ngdebt:                                                             ReaffirmationAgreement.
                                                                             r-lRetai
                                                                                    n thepropertyandEexpl
                                                                                                        ain):


         Creditor's MR coopER HO MELOANS                                     X Surrenderthepropedy.
         nam e:
                                                                             M Retain the propertyand redeem it.
         oescriptionof 11226 ARIZONA AVE
                                                                             XelRetai
                                                                                    n the propertyandenterInto a
         property
         securi
              ngdebt:                                                           ReaftirmationAgreement.
                                                                             rD Retai
                                                                                    n thepropertyand(expl
                                                                                                        ain):


                                                                             c Surrenderthe property.                   -
                                                                                                                        - !
                                                                                                                          No
                                                                             U 1Retain the propertyand redeem it.
                                                                             X Retai n the propertyand enterintoa
                                                                                ReaffirmationAgreement.
                                                                             X Retai
                                                                                   n thepropedyand(expl
                                                                                                      ain):


                                                                             X Surrendertheproperty.                    V INo
                                                                             Z Retainthepropertyandredeem it.           - Yes
         Descripti
                 onof
         property                                                            D Retainthepropertyandenterintoa
         securing debt:                                                         ReaMirmation Agreement.
                                                                             Q Retainthepropertyand(explain):

 Offici
      alForm 108                            StatementofIntention forIndividuals Filing UnderChapter7                            paqe 1
              Case 6:19-bk-10064-SY             Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                          Desc
                                                Main Document    Page 51 of 63
                  ROSA ROBLES


œ.
                 ListYourUnexpired PersonalProperty Leases
ForanyunexpiredpersonalpropertyIeasethatyou Iisted inScheduleG:Executory Contractsand UnexpiredLeases(OfficialForm 106G),
fillin theinformation below.Do notIistrealestate Ieases.Unexpired Ieases are Ieases thatare stillin efect;the lease period has notyet
ended.YoumayassumeanunexpiredpersonalpropertyIeaseifthetrusteedoesnotassumeit.11U.S.C.9365(p)(2).
         Describeyourunexpired personalpropertyleases                                                     W illthe Ieasebeassumed?
        Lessor'sname:                                                                                   --iNo
                                                                                                                  Yes
        Description ofIeased
        property:

        Lessor'sname:

        Description ofI
                      eased
        property:


        Lessor'sname:                                                                                           INo
        Description ofleased                                                                                      Yes
        property:


        Lessor'sname:                                                                                   - INo
                                                                                                        - -
                                                                                                          IYes
        Description ofIeased
        property:

        Lessor's nam e:                                                                                 -.   lNo
                                                                                                        '''''''''''
                                                                                                        . - .j
                                                                                                             .Yes

        Descripti
                onofI
                    eased
        property:

        Lessor'sname:                                                                                     .-    1No
                                                                                                               lYes
        Descripti
                onofIeased
        property:




-
    .            sign Below


    Underpenaltyofper jury,Ideclarethatlhaveindicatedmyintentionaboutanypropertyofmyestatethatsecuresadebtandany
    personalpropertythatissubjecttoanunexpiredIease.

x                   s   -
                                                        x
        Signature ofDebtor1     .                           SignatureofDebtor2
        Date11/13/2018 ///F /                               Date
                                                                   MM / DD / YYYY
            MM / DD / YYYY



O#ici
    alForm 108                           StatementofIntention forIndividuals Filing UnderChapter7                        Page 2
             Case 6:19-bk-10064-SY                        Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10 Desc
                   :    . :    @ :*      #       . *      Main Document    Page 52 of 63
                                                                                       * @ - :@ : e # * -:  @                               . :
                                                                                                    *       è    ..
 Debtor1          ROSA RO BLES
                  FlrstName                  MfddleName                LastName
                                                                                                   * 1.Thereisnopresumptionofabuse.
 Debtor2
 (Spouse,iffiling) FirstName                 MlddleName                LastName                    D 2.Thecalcul
                                                                                                               ationtodeterminei
                                                                                                                               fapresumptionof
                                                                                                        abuse applieswillbe made underChapter7
 United States BankruptcyCourtforthe:CentralDistrictofCalifornia                                        MeansTestCalcul
                                                                                                                      ation(OfficialForm 122A-2).
 Case number                                                                                       D 3.TheMeansTestdoesnotappl
                                                                                                                             ynow becauseof
 (Ifknown)                                                                                              qual
                                                                                                           ified mil
                                                                                                                   itary servi
                                                                                                                             cebuti
                                                                                                                                  tcouldappl
                                                                                                                                           yIater.


                                                                                                   D checki
                                                                                                          fthisisanamendedfiling

OfficialForm 122A 1
C hapter 7 Statem ent of Y our C urrent M onthly Incom e                                                                                         12/1s
Be as compl
          eteand accurate as possibl
                                   e.I
                                     ftwo married people are filing together,both are equall
                                                                                           y responsibleforbeing accurate.Ifmore
spaceisneeded,attachaseparatesheettothisform.lncludetbeIinenumbertowhichtheadditionalinformationapqlies.Onthetopofany
additionalpages,writeyournameandcasenumber(ifknown).Ifyoubelievethatyouareexemptedfrom apresumptlonofabusebecauseyou
do nothave primarilyconsumerdebtsorbecauseofqualifying mllitaryservice,complete and file StatementofExemption from Presumption of
AbuseUnderf707(b)(2)(OfficialForm 122A-1Supp)wi
                                              ththisform.
 *.
               Calculate YourCurrentM onthly Incom e
 1.W hatis yourmaritaland filing status? Checkone onl
                                                    y.
      Y Notmarried.FilloutColumnA,Iines2-11.
      Q Marriedandyourspouseisfilingwithyou.FiloutbothCol  umnsAandB,Iines2-11.
      Q MarriedandyourspouseisNOT filingwithyou.Youandyourspouseare:
        Q Living inthesamehouseholdandarenotIegallyseparated.FilloutbothColumnsA andB,I    ines2-11.
        Q Livingseparatelyorarelegallyseparated.FilloutColumnA,Iines2-11*
                                                                        ,donotfilloutColumnB.Bycheckingthisbox,youdecl
                                                                                                                     are
                underpenaltyofperjurythatyouandyourspousearelegallyseparatedundernonbankruptcylaw thatappl
                                                                                                         iesorthatyouandyour
                spouseareIivingapartforreasonsthatdonotincludeevadingtheMeansTestrequirements.11U.S.C.j707(b)(7)(B).
      Fillin theaverage monthly income thatyou recei
                                                   ved from aI1sources,derived during the 6fullmonlhs beforeyou file this
      bankruptcycase,11U.S.C.5101(10A).Forexampl
                                               e,ifyouarefi
                                                          lingonSeptember15,the6-monthperi
                                                                                         odwoul
                                                                                              dbeMarch1through
      August31.I fthe amountofyourmonthl yi
                                          ncome varied duringthe 6 months,addthe income foralI6 monthsand dividethe totalby6.
      Fillintheresult.Donoti
                           nclude anyincome amountmore than once.Forexample,i  fboth spousesownthe same rentalpropedy,putthe
      incomefrom thatpropertyinone column onl
                                            y.Ifyouhave nothing to reportforanyIine,write $0 inthe space,
                                                                                                   ColumnA            Column B
                                                                                                   Debtor1            Deblor2or
                                                                                                                      non-filing spouse
    Yourgrosswages,salary,tips,bonuses,overtime,andcommissions                                      $0.00              $0.00
    (beforeaIIpayrolldeductions).
 3. Al
    Coil
       mony
       umnBai nd mai
              sfil
                 ledin
                     nt.
                       enance payments.Do notinclude paymentsfrom a spouse if                       $0.00              $0.00
 4.AIlamounlsfrom anysourcewhichare regularl y paid forhousehold expenses
   ofyou oryourdependents,including child support.Include regul
                                                              arcontributions
   from an unmarried padner,membersofyourhousehol
                                                d,yourdependents,parents,
      an
      fildroommates.Includeregul
                               arcontributionsfrom aspouseonl
                                                            yifColumnBisnot                         $0.00              $0.00
     ed in.Do notinclude payments youIisted on Iine3.
 5. Netincome from operating a business,profession, Debtor1                       oebtor2
   orfarm
      Grossreceipts(beforeaIIdeductions)                $0.00   $ 0.00
      Ordinaryandnecessaryoperatingexpenses           .-$0.00 - $ 0.00
      Netmonthlyincomefrom abusiness, professi
                                             on,orfarm $0 00    $ 0.00 cop
                                                                       hery
                                                                         ee                         $ ()'(jlj          $0.00
 6. Netincomefrom rentaland olherrealproperty                      Debtor1        Debtor2
      Grossrecei
               pts(beforeaIIdeductions)                                $0 n0   $ 0.00
      O rdinaryand necessaryoperating expenses                     -   $0.00 - $ 0.00
      Netm onthlyincome from rentalorotherrealproperty                                      copy
                                                                       $0.00      $ 0.00 heree
7. lnterest,dividends,and royalties


OfhcialForm 122A-1                             Chapter7StatementofYourCurrentMonthly Income
                 Case 6:19-bk-10064-SY                                         Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10                                                                                Desc
                                                                               Main Document    Page 53 of 63
                      ROSA ROBLES
                      FlrstName             MiddleName                   LastName

                                                                                                                                                  ColumnA                         Column B
                                                                                                                                                  Debtor1                         Debtor2 or
                                                                                                                                                                                  non-filingspouse
    8. Unemploymentcompensation                                                                                                                     $ 0.00                           $0.00
         DO nOtOnterthe amountifyOu contendthatthe amountrecei
                                                             vedwasa benefit
         undertheSOCi
                    aISecurityAct.Instead,Ii
                                           sti
                                             there:.............................W
            FD()rJ!()tl............................................,...,
                                                                       ............................. 1)(1.C)()
            F:()rs!tltlrir;)()tl69e.......................,...................................... $)().()()
'9. Pension orretirem entincome.Do notincludeanyamountrecei
                                                          vedthatwasa
' benefitunderthe socialsecurityAct.                                                                                                                $0.00                            s0.00
    1O.Income from aIIothersources notlisted above.Speci   fythe sourceand amount.
       Do notinclude anybenefitsrecei vedunderthe SocialSecurityActorpaymentsreceived
       asavictim ofawarcrime,a crimeagai   nsthumanity,orinternati
                                                                 onalordom estic
       terrori
             sm .Ifnecessary,Iistothersourcesona separate page and putthe totalbel
                                                                                 ow.
            ROOMATES M ONTHLY CONTRIBUTI                                                                                                            $2,500.00                        s0.00
                                                                                                                                                    $0.00                            $0.00
          Totalamountsfrom separatepages,ifany.                                                                                                  + $0.00                         + $0.00

    11.Calcujate yourtotalcurrentmonthl
                                      y income.Add Iines2 through 10foreach
         column.ThenaddthetotalforColumnA tothetotalforColumnB,                                                                                                                      $0.00                    = $2,500.00
                                                                                                                                                                                                               Totalcurrent
                                                                                                                                                                                                               monthly income
i e.                 Determ ine W hetherthe Means TestApplies to You                                                                                                                                                             !
!
 12.Calculate yourcurrentmonthlyincomefortheyear.Fol          low thesesteps:                                                                                                                                                    :
    12a. Copyyourtotalcurrentmont#'I
                                   3,i
                                     r,()tlrr,(,frt)rrlIi
                                                        r)(
                                                          ,11.,.............................................,.......,.........,..............()(,r
                                                                                                                                                 ,JrIi
                                                                                                                                                     r,e11k,t,rt,.iIh .
                                                                                                                                                                      @ Sr:?,ts()().()()                                        :
                                                                                                                                                                                                                                1 i
                                                                                                                                                                                                                                  i
                  Multipl
                        yby12(thenumberofmonthsinayear).                                                                                                                                                      X 12
                  Theresul
                         ti
                          syourannuali
                                     ncomeforthispartoftheform                                          .                                                                                          12b.       $ 3I,
                                                                                                                                                                                                                  UUU.UU '

 13.Calcul
         ate the medianfamily incomethatappliesto you.Foll
                                                         ow these steps:
         Filli
             nthestatei
                      nwhichyouIive.                                                             CA

         Fillinthenumberofpeopl
                              einyourhousehol
                                            d.                                                  4
         Frillir
               ltt16,rïl(,(li
                            zlrlfplrrti
                                      ls/irl()tlrrp(,ftlr5/()tlrtltlltllëhrl(
                                                                            itlizrE)()f01()tlE;(
                                                                                               ,01()1(1. ...........................................................,.,....,.............,............1:4.    1; 94,505.00
         Tofind a I
                  istofapplicabl
                               e medianincome amounts,go online using the Iink speci
                                                                                   fi
                                                                                    ed inthe separate
         instructions forthis form .This Iistmay also be available atthe bankruptcy clerk's office.
    14.How do the Iines compare?
         14a.         Li
                       ne 12b i
                              sl essthan orequalto Ii
                                                    ne 13.Onthetop ofpage 1,checkbox 1,F/lereisnopresumption Ofabuse.
                      Go to Pad 3.
         14b.D Line 12bi
                       smorethanli
                                 ne13.Onthetopofpage1,checkbox2,ThepresumptionofabuseisdeterminedbyForm 1224-2.
                      Go to Part3and filloutForm 122A-2.
I*
l    .                Sign Below
                     Bysigninghere,Ideclareunderpenal
                                                    tyofperjurythattheinformationonthisstatementandinanyadachmentsistrueandcorrect.


                          SignatureofDebto 1                                                                                              Signature ofDebtor2
                         oate11/13/2018 /7 /3                                                                                             oat
                                                                                                                                            e
                                 MM / DD /YYYY                                                                                                     MM / DD 1$M

                          I
                          fyouchecked Iine 14a,do NOT filloutorfije Form 122A-2.
                          I
                          fyou checked li
                                        ne 14b,fi
                                                lloutForm 122A-2 andfil ei twith thisform.

OfficialForm 122A-1                                                Chapter7 StatementofYourCurrentMonthly Income
     Case
  82030lFor6:19-bk-10064-SY
           m 2030)(12/15)   Doc 1 Filed 01/04/19 Entered 01/04/19 13:29:10 Desc
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                             U nited States B anknlptcy C ourt
                                                 CentralDistri
                                                             ctofCalifornia

  In re ROSA ROBLES
                                                                                          CaseN o.

  Debtor                                                                                   Chapter7

                DTSCLO SURE OF CO M PENSATION OF ATTO RNEY FOR DEBTOR

  1. Pursuantto llU .S.C.j329(a)and Fed.Bankr.P.2016(b),lcertifythatlam theattorneyforthe
     abovenameddebtorts)andthatcompensationpaidtomewithin oneyearbeforethefiling ofthe
     petition in bankruptcy,oragreed to bepaid to m e,forservicesrendered orto berendered on behalfof
     thedebtorts)in contemplationoforin connection withthebanknzptcycaseisasfollows:
e FLAT FEE
     F
      orlegalservices,lhaveagreedtoaccept..............................$ 1,000.00
     Priorto thefiling ofthisstatetnentIhavereceived. . . . . . . . . . . . . . . . . . . . . . . . $ 1,000.00



Z RSTAIXR
     Forlegalservices,1have agreed to accepta retainerof ....................$
     Theundersigned shallbillagainstthe retaineratan hourly rate of
     gOrattachfinm hourlyrateschedule.qDebtorls)haveagreedtopay al1Court
     approved feesand expensesexceeding the amountoftheretainer.

    The source ofthe compensation paid tom e was:
           Debtor                        e other(specify) DEBTOR
    The source ofcompensation to bepaid to m eis:
      Z Debtor                               Other(specify)
      e Ihavenotagreed to sharethe above-disclosed com pensation with any otherperson unlessthey
    arem embersand associatesofm y 1aw fin'
                                          n.
          Ihaveagreed to sharethe above-disclosed com pensation with a otherperson orpersonsw ho
 arenotm em bersorassociatesofm y law fin'  n.A copy ofthe Agreem ent,togetherwith alistofthenam es
 ofthe peoplesharing the com pensation isattached.
    In return oftheabove-disclosed fee,1haveagreed to renderlegalservice fora11aspectsofthe
    banknlptcy case,including:
    a. Analysisofthe debtor'sfinancialsituation,and rendeling advice to the debtorin determining
       whetherto filea petition in bankruptcy;
       Preparation and tiling ofany petition,schedules,statem entsofaffairsandplan which m ay be
       required;
       Representation ofthedebtoratthem eeting ofcreditorsand confinuation hearing,and any
        adjournedhearingsthereof'
                                ,
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    d (Otherprovisionsasneededq
cHAp-rin7BAsxnup-rcvPETITION/MEETING oFcnEolyons




6. Byagreementwiththedebtorts),theabove-disclosedfeedoesnotincludethefollowingsenrices:
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                                     CERTIFICATION
             y
      1certif. t
               hatthe f
                      oregoi
                           ng i
                              s a complete statem entofany agreem entorarrangem entfor
            paymenttomeforrepresentationofthedebtorts)in thisbankruptcyproceeding.
                                                      i          .

      11/13/2018                            a,
                                             ...   ....e   #'<
     Date                                x
                                         vgnl/l/rct! Attolmey
                                      LAW OFFICE OF MARIO RIVAS

                                      3800XoavgmjoO/s
                                                    l&
                                                     TW
                                                      RLlr
                                                         yM
                                      SUITE,150
                                      RI
                                       VERSIDE,CA 92501
                                      mrivasesq@aol.com
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Notice Required by 11 U.S.C.j 342(b)for
Individuals Filing for Bankruptcy (Form 2010)


                                                       Chapter7: Liquidation
 This notice isforyou if:
  $
  i
  f You are an individualfiling forbankruptcy,                  $245    filingfee
     and                                                         $75    administrativefee
                                                       +         $15    trustee surcharne
  $E: Yourdebts are prim arily consum erdebts.
                                                                $335    totalfee
     Consumerdebtsaredefined in 11U .S.C.
     # 101(8)asttincurredbyanindividual                Chapter7 isforindividualswhohave financial
     prim arily fora personal,family,or                difficulty preventing them from payingtheir
     household purpose.''                              debtsand who are willing to allow theirnon-
                                                       exemptproperty to beused to pay their
                                                       creditors.Theprimary purpose offiling under
                                                       chapter7 isto have yourdebtsdischarged.The
The types ofbankruptcy that are                        bankruptcy discharge relievesyou after
available to individuals                               bankruptcy from having to pay many ofyour
                                                       pre-bankruptcy debts.Exceptionsexistfor
lndividualswhomeetthequalificationsmayfile             particulardebts,and lienson property m ay still
underoneoffourdifferentchaptersofthe                   be enforced afterdischarge.Forexample,a
Banknlptcy Code:                                       creditormay have therightto foreclosea home
                                                       mortgage orrepossessan automobile.
    Chapter7 - Liquidation
                                                       However,ifthecourtfindsthatyou have
    Chapter11- Reorganization                          com mitted certain kindsofim properconduct
                                                       described in theBankruptcy Code,the court
w Chapter12-       V oluntary repaym entplan
                                                       may deny yourdischarge.
                   forfam ily farm ersor
                   fishermen
                                                       You should know thateven ifyou file
                                                       chapter7 and you receive a discharge,som e
Kï Chapter13- Voluntary repaymentplan
                                                       debtsarenotdischarged underthe law.
              forindividualswith regular
                                                       Thereforesyou m ay stillberesponsibleto pay:
              income
                                                            m osttaxes;
You should have an attorney review your                     m oststudentloans;
decision to file forbankruptcy and the choice of
                                                            domestic suppol'tand property settlement
chapter.
                                                            obligations;




Notice Requiredby11U.S.C.U.S.C.j342(b)forIndividualsFilingforBankruptcy (Form 2010)         page1
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1' m ostfines,penalties,forfeitures,and               yourincom eism ore than the median incom e
   criminalrestitution obligations;and                foryourstate ofresidence and fam ily size,
*7 certain debtsthatare notlisted in your             depending on the resultsoftheM eans Testbthe
   bankruptcy papers.                                 U .S.trustee,bankruptcy administrator,or
                                                      creditorscan filea motion to dismissyourcase
You may also be required to pay debtsarising          underj707(b)oftheBankruptcyCode.lfa
from :                                                motion isfiled,the courtwilldecideifyour
                                                      case should bedism issed.To avoid dismissal,
lj fraud ortheft;                                     you m ay choose to proceed underanother
14 fraud ordefalcation whileacting in breach          chapterofthe Bankruptcy Code.
   offiduciary capacity'
                       ,
                                                      lfyou are an individualfiling forchapter7
l intentionalinjuriesthatyou inflicted;and            bankruptcy,the trusteem ay sellyourproperty
m death orpersonalinjurycausedby                      topay yourdebts,subjecttoyourrightto
    operating a motorvehicle,vessel,or                exemptthe property ora portion ofthe
    aircraftwhile intoxicated from alcoholor          proceedsfrom the sale ofthe property.The
    drugs.                                            property,and theproceedsfrom property that
                                                      yourbankruptcy trustee sellsorliquidatesthat
lfyourdebtsare prim arily consumerdebts,the           you areentitled to,iscalled exemptproperty.
courtcan dismissyourchapter7 caseifitfinds            Exemptionsm ay enable you to keep your
thatyou have enough income to repay                   home,acar,clothing,and household item sor
creditorsacertain am ount.Y ou mustfile               to receive some ofthe proceedsifthe property
Chapter7StatementofFtplfrCurrentM onthly              is sold.
Income(OfficialForm 122A-1)ifyouarean
individualfiling forbankruptcy under                  Exemptionsare notautomatic.To exempt
chapter7.Thisform willdetermine your                  property,you m ustlistiton Schedule C:The
currentmonthly incom eand comparewhether              Propertyl'tpr/Clailn asExelnpt(OfficialForm
yourincome ism orethan the median income              106C).lfyoudonotlisttheproperty,the
thatappliesin yourstate.                              trustee m ay sellitand pay a1loftheproceeds
                                                      to yourcreditors.
lfyourincome isnotabove the median for
yourstate,you willnothaveto completethe
otherchapter7 form,the Chapter 7M eans                Chapter11:Reorganization
TestCalculation(OfficialForm 122A-2).
                                                              $1,167 filingfee
lfyourincome isabove the median foryour               +        $550 administrative fee
state,you m ustfile a second form - the                       $1,717 totalfee
Chapter 7M eansTestCalculation(Official
Form 122A-2).Thecalculationsontheform-                Chapter 11 isoften used forreorganizing a
sometimescalled theM eans Tc. ç/- deduct              business,butisalso availableto individuals.
from yourincome living expensesand                    Theprovisionsofchapter11aretoo
paymentson certain debtsto determine any              complicated to sum marize brietly.
am ountavailable to pay unsecured creditors.lf


NoticeRequiredby11U.S.C.U.
                         S.C.:342(b)forlndividualsFilingforBankruptcy (Form 2010)        Page2
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* a; @   a. .     ..                  ,



Because bankruptcy can have serious Iong-term financialand Iegalconsequences,including Ioss of
yourpropedy,you should hire an attorney and carefully considera1Iofyouroptions before you file.
Only an attorney can give you legaladvice aboutw hatcan happen as a resultoffiling forbankruptcy
and w hatyouroptions are.lfyou dofileforbankruptcy,an attorney can help you fillouttheform s
properlyand protectyou,yourfam ily,yourhome,and yourpossessions.
Although the Iaw allow s you to representyourselfin bankruptcy court,you should understand that
m any people find itdifficultto representthemselves successfully.The rules are technical,and a
m istake orinaction m ay harm you.Ifyou file w i
                                               thoutan attorney,you are stillresponsible forknowing
and follow ing aIIofthe Iegalrequirem ents.
You should notfile forbankruptcy ifyou are noteligible to fileorifyou do notintendtofilethe
necessary documenls.
Bankruptcyfraud isa seriouscrim e;you could befined and im pri  soned ifyou com m itfraud inyour
bankruptcycase.M akinga false statement,concealing propedy,orobtaining m oney orpropedyby
fraud in connectionwitha bankruptcy casecan resul
                                                tinfinesupto $250,000,orimprisonmentforup to
20years,orboth.18 U.S.C.bb152,1341,1519,and 3571.


                                                       Underchapter13,you m ustfile with the court
Chapter12: Repaym entplan forfam ily
                                                       a plan to repay yourcreditorsallorpartofthe
           farm ers orfisherm en
                                                       m oney thatyou owethem ,usually using your
         $200 filingfee                                futureearnings.lfthe courtapprovesyour
+         $75 admini  strative fee
                                                       plan,the coul'twillallow you to repay your
         $275 totalfee
                                                       debts,asadjustedbytheplan,within 3yearsor
Similarto chapter 13,chapter 12 permits                5 years,depending on yourincome and other
fam ily farm ersand fishermen to repay their           factors.
debtsoveraperiod oftime using future
                                                       Afteryou m ake allthe paymentsunderyour
earningsand to discharge som e debtsthatare
notpaid.                                               plan,many ofyourdebtsare discharged.The
                                                       debtsthatare notdischarged and thatyou m ay
                                                       stillbe responsible to pay include:
                                                            dom estic supportobligations,
Chapter 13: Repaym entplan for
            individuals w ith regular                       m oststudentloans,
            incom e                                         certain taxes,
                                                            debtsforfraud ortheft,
         $235 filing fee                                    debtsforfraud ordefalcation while acting
+         $75 admini   strative fee
                                                            in afiduciary capacity,
         $310 totalfee
                                                            m ostcrim inalfinesand restitution
Chapter 13 isforindividualswho haveregular                  obligations,
income and would like to pay al1orpartof                    certain debtsthatare notlisted in your
theirdebtsin installmentsovera period oftime                bankruptcy papers,
and to discharge some debtsthatare notpaid.                 certain debtsforactsthatcaused death or
You are eligible forchapter13 only ifyour
debtsare notmore than certain dollaramounts
                                                            personalinjury,and
                                                        t'i
                                                          l
                                                          : certain long-term secured debts.
setforthin 11U.S.C.# 109.

NoticeRequired by11U.S.C.U.S.C.j342(b)forIndividualsFilingforBankruptcy (Form 2010)      page3
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                                                        A manied couple may file abankruptcy case
  W a rning: File Your Form s on Tim e                  together--calledajointcase.lfyoufileajoint
                                                        case and each spouseliststhe same m ailing
  Section521(a)(1)oftheBankruptcyCode                   addresson the bankruptcy petition,the
  requires thatyou promptl y fil
                               e detailed information
                                                        bankruptcy courtgenerally willmailyou and
  aboutyourcredi   tors,assets,Iiabili
                                     ties,income,
  expenses and generaltinancialconditi    on.The        yourspouse one copy ofeach notice,unless
  courtmay di  smi ssyourbankruptcy case i   fyou do    you filea statementwith the courtasking that
  notfile thi
            s information within the deadlinessetby     each spouse receiveseparate copies.
  the Bankruptcy Code,the Bankruptcy Rules,and
  the localrules ofthe court.
  Formore information aboutthe documentsand             U nderstand w hich services you
  theirdeadlines,goto:                                  could receive from credit
  httn:
      //- .uscouds.nov/bkforms/bankruntcv form          counseling agencies
  s.html#nrocedure.
                                                        Thelaw generally requiresthatyou receive a
                                                        creditcounseling briefing from an approved
Bankruptcy crim es have serious                         creditcounselingagency.11U.S.C.# 109(h).
consequences
                                                        lfyou arefiling ajointcase,bothspousesmust
                                                        receive thebriefing.W ith lim ited exceptions,
1 lfyou knowingly and fraudulently conceal              you mustreceiveitwitltin the 180 daysbefore
  assetsormake a false oath orstatement                 you fileyourbankruptcy petition.Thisbriefing
    underpenalty ofperjury- eitherorallyor              isusually conducted by telephone oron the
    in writing- in connection with a                    lnternet.
    bankruptcy case,you m ay be fined,
    imprisoned,orboth.                                  ln addition,afterfiling abankruptcy case,you
                                                        generally m ustcomplete atinancial
     Al1information you supply in connection            m anagementinstructionalcoursebefore you
    withabankruptcycaseissubjectto                      canreceiveadischarge.lfyouarefilingajoint
    examination by the Attorney Generalacting           case,both spousesmustcomplete thecourse.
    through the OfficeoftheU .S.Trustee,the
    Office oftheU .S.Attorney,and other                 Y ou can obtain the listofagenciesapproved to
    officesand employeesoftheU .S.                      provideboth the briefing and theinstructional
    D epartm entofJustice.                              coursefrom :
                                                        httn://iustice.
                                                                      qov/usveo/hancna/ccde/cc aDDroved.htm l.
M ake sure the court has your                           ln Alabam aand North Carolina,go to:
m ailing address                                        httn:
                                                            //- .uscouds.nov/Federalcouds/Bankruptcv/
Thebankruptcy courtsendsnoticesto the                   BankruptcvResources/Annrovedcredit
m ailing addressyou liston Voluntary Petition           AndDebtcounselors.asnx.
forfnlïvïlLftz/.
               îFilingforBankruptcy(Official            lfyou do nothave accessto acomputer,the
Fonn 101).Toensurethatyoureceive                        clerk ofthe bankruptcy courtmay be able to
information aboutyourcase,Bankruptcy
                                                        help you obtain the list.
Rule 4002 requiresthatyou notify thecourtof
any changesin youraddress.


NoticeRequiredby11U.S.C.U.S.C.j342(b)forlndividualsFilingforBankruptcy (Form 2010)          Pa9e4
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                          U nited States Bankruptcy Court
                           CentralDistrictofCalifornia




In re: RO SA ROBLES                                         Case No.

                                                          Chapter
                  Debtoqs)



                          Verification ofCreditorMatrix



      The above-named Debtorts)hereby verify thatthe attached Iistofcreditors is
true and correctto the bestoftheirknowledge.




Date: 11/1a/2o18jjltajlw                     si
                                                     X
                                              inatureofDebtor

                                             Signature ofJointDebtor
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                                   CreditorMatrix (2)
AaRON ALAN PEST CONTROL
6211 ANTIOCH AVE
RIVERSIDE, CA 92504


DEPARTHENT OF TREASURY
P.O . BOX 145566
Cincinnati, OH 45250


FRANKLIN COLLECTION SERVICE, INC.
P.O. B0X 3910
TUPELO, MS 38803-3910


INFINITY INSURANCE
P.O. B0X 2153
DRAHER#2537
BIRMINGHAH, AL 35287-2537


MR. COOPER HOMELOANS
PO B0X 60516
CITY OF INDUSTRY, 91716


PREVENTIVE PEST CONTROL
1025 N SHEPARD STREET
Anaheima CA 92806


RIVERSIDE COUNTY DEPARTMENT OF ANIMAL SERVICE
6851 VAN BUREN BLVD
Riversidea CA 92509


SLS
8742 LUCENT BOULEVARD, SUITE 300,
HIGHLAND RANCH, C0 80129


STATE BOARD OF EQUALIZATION
P.O. B0X 942879
SACRAHENTOa CA 94279-0056


THE DANBURY KINT
47 RICHARDS AVE
                                         Page
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                                CreditorMatrix (2)
NORHALK, CT 06857


TRANSHORLD SYSTEMS INC.
P.O. B0X 15520
HILMINGTON, DE 198505520




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